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 8                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
 9                              OAKLAND DIVISION
10   IN RE COLLEGE ATHLETE NIL                 Case No. 4:20-cv-03919-CW
11   LITIGATION
                                               [PROPOSED] FINAL JUDGMENT OF
12                                             DISMISSAL WITH PREJUDICE AS TO
                                               DEFENDANTS NATIONAL COLLEGIATE
13                                             ATHLETIC ASSOCIATION, ATLANTIC
                                               COAST CONFERENCE, THE BIG TEN
14                                             CONFERENCE, INC., THE BIG 12
                                               CONFERENCE, INC., PAC-12
15
                                               CONFERENCE AND SOUTHEASTERN
16                                             CONFERENCE

17                                             Hon. Claudia Wilken

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     [PROPOSED] FINAL JUDGMENT AND DISMISSAL                           Case No. 4:20-cv-03919-CW
     WITH PREJUDICE
     Case 4:20-cv-03919-CW           Document 719          Filed 03/03/25   Page 2 of 96



 1          IT IS HEREBY ORDERED, ADJUDGED AND DECREED that final judgment is ENTERED in

 2   accordance with the terms of the Second Amended Stipulation and Settlement Agreement (ECF

 3   No. 717-1, Ex. C) (the “Second Amended Settlement Agreement”) and the Order Granting

 4   Plaintiffs’ Motion for Final Settlement Approval. Terms and phrases in this Judgment will have

 5   the same meaning as in the Second Amended Settlement Agreement.

 6          The Court has personal jurisdiction over Plaintiffs and the Settlement Classes and subject

 7   matter jurisdiction to approve the Second Amended Settlement Agreement. Final approval of the

 8   Second Amended Settlement Agreement was granted.

 9          The Court dismisses on the merits and with prejudice this Action against Defendants

10   National Collegiate Athletic Association (“NCAA”), Atlantic Coast Conference (“ACC”), The

11   Big Ten Conference, Inc. (“Big Ten”), The Big 12 Conference, Inc. (“Big 12”), Pac-12

12   Conference (“Pac-12”) and Southeastern Conference (“SEC”) (collectively, the “Defendants”),

13   including the claims of Plaintiffs and the claims of the Settlement Classes, with each party to bear

14   its own costs and attorneys’ fees, except as provided in the Second Amended Settlement

15   Agreement.

16          Those persons and entities identified in the list attached hereto as Exhibit A are excluded

17   from the Damages Settlement Classes. Such persons and entities are not included in or bound by

18   this Judgment solely as it relates to the Damages Settlement for which they opted out. Such

19   persons and entities are not entitled to any recovery of the settlement proceeds obtained in

20   connection with the Second Amended Settlement Agreement.

21          The Court hereby enters the Injunction attached hereto as Exhibit B, and provides the

22   approvals contemplated therein. Defendants are accordingly enjoined and restrained as set forth

23   in Exhibit B, for the term set forth in Exhibit B.

24          Upon the Effective Date, the Releasees shall be discharged and released from the

25   Released Claims pursuant to the terms of the Second Amended Settlement Agreement. The

26   Second Amended Settlement Agreement is binding on, and will have res judicata and preclusive

27   effect in all pending and future lawsuits or other proceedings maintained by or on behalf of

28   Plaintiffs and the Releasors with respect to the claims released by the Second Amended
                                                     -1-
     [PROPOSED] FINAL JUDGMENT AND DISMISSAL                                   Case No. 4:20-cv-03919-CW
     WITH PREJUDICE
     Case 4:20-cv-03919-CW          Document 719          Filed 03/03/25    Page 3 of 96



 1   Settlement Agreement. As of the Effective Date, Plaintiffs and Members of the Settlement

 2   Classes shall be permanently barred and enjoined from instituting, commencing, prosecuting, or

 3   asserting any claim released pursuant to the terms of the Second Amended Settlement Agreement.

 4          This document will constitute a final judgment (and a separate document constituting the

 5   judgment) for purposes of Rule 58 of the Federal Rules of Civil Procedure. Without affecting the

 6   finality of the Judgment in any way, this Court hereby retains continuing, exclusive jurisdiction

 7   on all matters relating to administration, consummation, implementation, enforcement, and

 8   interpretation of the Second Amended Settlement Agreement and this Judgment, and for any

 9   other necessary purpose.

10          IT IS SO ORDERED.
11

12   DATED: _________________________

13                                                HONORABLE CLAUDIA WILKEN
                                                  UNITED STATES SENIOR DISTRICT JUDGE
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     [PROPOSED] FINAL JUDGMENT AND DISMISSAL                                  Case No. 4:20-cv-03919-CW
     WITH PREJUDICE
Case 4:20-cv-03919-CW   Document 719   Filed 03/03/25   Page 4 of 96




            EXHIBIT A
          Case 4:20-cv-03919-CW           Document 719      Filed 03/03/25   Page 5 of 96




College Athlete Compensation Settlement

                              Opt Outs - House
          Count                                    343

               ClaimID                    First1                Last1
        1 10185748201         AARON                      HOLIDAY
        2 10183380501         AARON                      SABATO
        3 9000008601          AARON                      SCHUNK
        4 10064367001         AARON DEVON                EPPS
        5 10575357901         AARON JOSHUA               NESMITH
        6 10298903501         AASHARI                    CROSSWELL
        7 10266507201         ABIGAIL                    HOOD
        8 10168453801         ABIGAIL                    SIMINSKI
        9 10169368001         ADAM                       KUNKEL
       10 10095957001         ADDISON                    OOMS
       11 10264966201         ADRIAN                     DEL CASTILLO
       12 10132544701         AIDAN                      ROBBINS
       13 10105793301         AKAYLEB AI                 EVANS
       14 10117632601         ALARIC                     JACKSON
       15 10624939301         ALERICK                    SOULARIE
       16 10132110701         ALEVA                      HIFO
       17 10293841601         ALEX                       FONTENOT
       18 10327506001         ALEX JEFFREY               HORNIBROOK
       19 10429454101         ALEXANDER                  BACHMANN
       20 10072300701         ALEXANDER CARL             SHAW
       21 10301716101         ALEXANDER JORDAN           PERRY
       22 10059430001         AL-MALIK                   HAUSMAN
       23 10551825601         AMANI                      ORUWARIYE
       24 20000646501         AMARI                      CATCHINGS
       25 9000045201          AMARVEER                   SINGH

       26 10272678401         AMBER C                    MELGOZA
       27 10132381501         AMMON                      HANNEMANN
       28 9000013601          ANDREW                     ABBOTT
       29 10105591201         ANDREW STEPHEN             LOCK
       30 20001783101         ANTHONY                    GILL
       31 10174446801         ANTHONY                    GOULD
       32 10059595901         ANTHONY                    PANDY
       33 10266685401         ASA                        LACY
       34 10138756801         AUSTIN                     SEIBERT
  Case 4:20-cv-03919-CW    Document 719    Filed 03/03/25   Page 6 of 96

35 10670843001   AUSTIN CEDRIC          MONTGOMERY
36 10073653101   AVA JOYCE              ANDERSON
37 10130570901   AZEEZ O                OJULARI
38 10132309801   BAYLOR                 ROMNEY
39 10122106001   BELLA SARA KRISTIANA   FISCO
40 10132370001   BENJAMIN               BYWATER
41 60013067301   BENJAMIN               RICHARDSON
42 10081666601   BENJAMIN JAMES         BOULWARE
43 10132377301   BLAKE                  FREELAND
44 10132286001   BRACKEN                EL-BAKRI
45 10264683101   BRADLEY                KAAYA
46 9000044001    BRADY                  MCCONNELL
47 10215885001   BRADY                  OCONNELL
48 10132091701   BRAYDEN                ELBAKRI
49 10264679001   BREVIN                 JORDAN
50 10292247001   BRITTANY               BREWER
51 10423123301   BRYCE P                LOVE
52 10672726601   BRYCE RAYMOND          NZE

53 10406819001   CADE MICHAEL           MCNAMARA
54 10289394901   CADE P                 CUNNINGHAM
55 10093737801   CADEN                  HAWS
56 9000004501    CAITLIN S              DRISCOLL
57 10138853601   CALEB                  WILLIAMS
58 10074765601   CAMERON                ECHOLS-LUPER
59 10098444701   CAMERON                KRUTWIG
60 10089020901   CAMERON                TAYLOR BRITT
61 10577546001   CAMERON                VALLADARES
62 10271516601   CAMERON DAVID          SERIGNE
63 10256068701   CAMERON JAMES          RISING
64 10146449601   CARMEN ALEXANDER       MLODZINSKI
65 10266372501   CARSON                 GREEN
66 50004102401   CARTER                 CUNNINGHAM
67 10267690201   CASSIUS JEROME         STANLEY
68 10279788201   CAYDEN B               WALLACE
69 10107554601   CHAD                   KELLY
70 10115364801   CHARLES                MATTHEWS
71 10131242801   CHARLES KENT           WOERNER
72 10265213201   CHARLESTON             RAMBO
73 9000037401    CHASE                  STRUMPF
74 10132279301   CHAZ                   AH YOU
75 10183911001   CHAZZ                  SURRATT
76 10147798301   CHLOE LEE              KITTS
77 9000011001    CHRIS                  MCMAHON
78 10119475401   CLEVELAND ALAN         JACKSON
79 10181757501   COLBY                  PARKINSON
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 80 10267103501   COLTON                PRATER
 81 10244072401   CONNOR FRANCIS        PRIELIPP
 82 10304358501   CORNELIS              VAN EYK
 83 9000012301    CURTIS                WEAVER
 84 10264461501   DAMUZHEA              BOLDEN
 85 10072106001   DANIEL VIRGIL         MILLS
 86 10119482101   DAVID                 BELL
 87 9000022701    DAVIS MCKEE           WENDZEL
 88 10132342601   DAX                   MILNE
 89 10399824001   DAXTER                MILES
 90 10292504501   DEMARCUS              FIELDS
 91 10535880001   DEMETRIS              HARRIS
 92 10248268801   DENZEL R              MIMS
 93 10259482001   DEONTAY               ANDERSON
 94 10399792101   DEREK                 CULVER
 95 10617204901   DERRICK               BARNES
 96 10292998101   DERRICK               WHITE
 97 10068863901   DESTINY               SLOCUM
 98 10031731501   DIBAJI                WALKER
 99 9000039001    DIXIE                 WOOTEN III
100 9000041101    DONELL                PASTER
101 10406872301   DONOVAN               PEOPLES-JONES
102 10461244701   DONOVAN JOHN          CLINGAN
103 10115393401   DONTAIE               ALLEN
104 60013159901   DONTE                 INGRAM
105 10081682401   DORIAN SCOTT          ODANIEL
106 10174134001   DREW                  EUBANKS
107 10407075401   DUNCAN                ROBINSON
108 10243871701   DYLAN M               SMITH
109 10132258601   EARL                  MARINER
110 10577020601   EDGAR                 BURROLA
111 10022943801   ELIJAH                BLADES
112 10682167201   ELIZA                 EKSTRAND
113 10265601001   ELLE                  MEZZIO
114 10088111701   EMMA                  ROWLAND
115 10669726201   EMMALINE M            EKSTRAND
116 10096015701   ERIC                  STRIKER
117 10108474201   ERICK                 HALLETT
118 10427953901   ERICK BERNARD         NEAL
119 10584208401   ERIK                  STEVENSON
120 10585939401   EVERETT               HUNTER
121 10236602001   FILIP                 PETRUSEV
122 10282698501   FRANK                 MASON
123 10407087001   FRANZ JACOB           WAGNER
124 10138382401   GABE                  BRKIC
125 10093788301   GABREYL SALE AH YOU   SUMMERS
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126 10093002501   GAVIN                  CROSS
127 10558999801   GRANT                  HALEY
128 10301568101   GREGORY MICHEAL        FRANCIS
129 9000023001    GRIFFIN                CONINE
130 10132347501   GUNNER                 ROMNEY
131 9000040901    HANNAH                 CROFUT
132 10132299901   HARRIS                 LACHANCE
133 10297108001   HARRY                  ALLEN
134 10228253501   HASAHN                 FRENCH
135 10670832601   HASHEM                 ASADALLAH
136 10132254901   HAYDEN                 LIVINGSTON
137 10148109301   HAYDEN RANDLE          HURST
138 10308612201   HAYDEN THOMAS          HOWERTON
139 10176924601   HUNTER                 LONG
140 10059357401   HUNTER ALEXANDER       ECHOLS
141 10113611001   HUNTER HARKINS         BARCO
142 10407039001   HUNTER RYAN            DICKINSON
143 10641051901   IKEM                   OKEKE
144 10132393101   ISAAC                  REX
145 10132134001   ISAIAH                 KAUFUSI
146 50004112101   ISHMAEL                HYMAN
147 10132337201   JACKSON                KAUFUSI
148 10272933501   JACOB                  BROWNING
149 10273003901   JACOB                  EASON
150 TBD           JACOB                  EVANS
151 50018889001   JACOB                  HUFF
152 10181975401   JACOB                  LOWE
153 9000036101    JACOB                  MCCARTHY
154 10132262801   JACOB                  OLDROYD
155 10060818801   JACOB B                CURHAN

156 10561625401   JACOB THOMAS-MICHAEL   COX
157 TBD           JAIME                  JAQUEZ JR
158 10271230001   JAKE MATTHEW           BENZINGER
159 10259328001   JAMAL                  SHEAD
160 10132287201   JAMES                  EMPEY
161 10108582501   JAMES                  MORRISSEY
162 10248570701   JAMES H                LYNCH
163 10338679801   JAMES K                BLACKMON
164 10115744701   JAMES LANDON           YOUNG
165 10168550601   JAMISON ATHENS         GORDON
166 10266489401   JARED                  HOCKER
167 10132296301   JARED                  KAPISI
168 10558965201   JASON                  CABINDA
169 9000007301    JASON                  PRESTON
170 10071952101   JAWON CORTEZ           JOHNSON
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171 10273007601   JAXSON               KIRKLAND
172 10174287301   JAYDON               GRANT
173 10107952701   JAYLON               ROBINSON
174 10267671901   JAYSON               TATUM
175 10278942301   JEREMIAH J           LEDBETTER
176 10399801901   JERMAINE             HALEY
177 10119661101   JERRON NEHEMIAH      CAGE
178 10072511901   JIMMY                BELL
179 10271615801   JOHN                 COLLINS
180 10115270001   JOHN                 RHODES
181 10411288801   JOHN MICHAEL         SCHMITZ
182 10327022001   JOHN STEPHEN         CICHY
183 10271590701   JOHN THOMAS          WOLFORD
184 10354014301   JOHNNY               JUZANG
185 10132213601   JONAH                TRINNAMAN
186 10132154501   JONATHAN             LINEHAN
187 10624822401   JORDAN               BECK
188 10399822601   JORDAN               MCCABE
189 10267680001   JORDAN LEWIS         TUCKER
190 10181709501   JOSE                 ARCEGA-WHITESIDE
191 TBD           JOSH                 SMITH
192 10323348901   JOSH JAMES           WHYLE
193 10115747201   JOSHUA               ALI
194 10160109801   JOSHUA ANDREAS       PIERRE-LOUIS
195 10064645101   JOSHUA NOAH          GRAY
196 10297394501   JULIUS               BRENTS
197 10132444301   JUSTEN DEAN          SMITH
198 20000008901   JUSTIN               RAGIN
199 9000042401    KAHLIL               JOHNSON
200 10119512601   KAMERON DREW         WILLIAMS
201 10168563401   KARISSA ROSE         QUENICHET
202 10095954401   KATELYN              OHASHI
203 10118798101   KATHLEEN             DOYLE
204 10182876701   KATHRYN              MEYER
205 10288431601   KATHRYN E            WESTBELD
206 10267399801   KEATON               SUTHERLAND
207 10132232001   KEENAN               ELLIS
208 10303728701   KEIR                 THOMAS
209 10419992101   KELLAN               GRADY
210 10181753801   KEVIN                COSTELLO
211 10266791301   KEVIN                MARFO
212 10174670201   KEVIN TYLER          ABEL
213 10576958701   KHALIL               TATE
214 9000035901    KHYRI                THOMAS
215 9000033301    KRISTOPHER FARRELL   JENKINS
216 10354769101   KYLA                 ROSS
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217 10071888701   KYLIN JATAVIAN          HILL
218 10228833101   LAMONT                  EVANS
219 10248828901   LAUREN                  COX
220 10081650201   LOGAN JAMES             TISCH
221 20000538201   LOPINI                  KATOA
222 10132234301   LORENZO                 FAUATEA
223 10098639001   LUCAS                   WILLIAMSON
224 10115486001   MADELYNNE               SCHERR
225 10354757501   MADISON                 KOCIAN
226 10139005101   MAGGIE                  NICHOLS
227 10399793301   MALIK                   CURRY
228 10661535001   MALIQUE                 JACOBS
229 10119518701   MARC CRANDALL           LOVING
230 10060945401   MARCEL MIKAL            DANCY
231 TBD           MARCUS                  ALLEN
232 9000038701    MARCUS                  WALLACE II
233 10280054601   MARCUS ANDREW           ZEGAROWSKI
234 10168636501   MARGARET MARY           OTOOLE
235 9000026801    MARQUES                 TOWNES
236 10132401701   MASEN                   WAKE
237 10671858701   MASON                   MOSES
238 10357112701   MASSIMILIANO C          BORGHI
239 10304146101   MATHEU                  NELSON
240 10624048101   MATTHEW                 BUTLER
241 10308323601   MATTHEW                 CROSS
242 10185683001   MATTHEW                 MCLAIN
243 10607526301   MAURICE                 ODUM
244 10535918001   MEKHI                   LAPOINTE
245 60004611701   MICAH                   PARTEN
246 60004638901   MICHAEL                 HARLEY
247 10132397901   MICHAEL                 TANUVASA
248 10671862901   MICHAEL                 VAN RAAPHORST
249 10577147801   MICHAEL                 WILEY
250 10181802601   MICHAEL                 WILSON
                  MICHAEL DONOVAN
251 10119848601   ALEXANDER               JORDAN
252 10168421601   MICHAEL LOGAN           MENNING
253 10185813901   MICHAELA NNE            ONYENWERE
254 10095968401   MIKAYLA                 PIVEC
255 10282996201   MONTELL H               COZART
256 10186277501   MORRELL ALEXANDER       OSLING III
257 10294012501   MYA                     HOLLINGSHED
258 10138565101   MYKEL                   JONES
259 10131645801   NAKOBE RASHOD           DEAN
260 20000942801   NATE                    SAVINO
261 10399777501   NATHAN                  ADRIAN
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262 10183413501   NATHANIEL               BRITT
263 10225092301   NATHANIEL               PIERRE-LOUIS
264 10064572001   NAZREON NYRU            REID
265 60016300801   NICHOLAS                DINARDI
266 10335992801   NICHOLAS                SWINEY
267 10071770601   NICHOLAS DYLAN          FITZGERALD
268 10249039901   NICHOLAS J              LOFTIN
269 10390868701   NIGEL                   JOHNSON
270 10551039701   NKOSI                   PERRY
271 10264308801   NYSIER                  BROOKS
272 10168639001   OWEN WILLIAM            SCHWEBACH
273 10119745701   PALAIE TOFAU            GAOTEOTE
274 10125674701   PARKER                  MESSICK
275 10169921901   PAUL                    STAMM
276 10139462701   PAYTN BLISS             MONTICELLI
277 10168582801   QUINCI GRACE            THOMAS
278 10406853001   QUINN RICHARD           NORDIN
279 10228421001   RASHAD                  WILLIAMS
280 10406638601   RASHAN ABDUL            GARY
281 9000043701    RASHARD                 DAVIS
282 10076433201   RILEY                   CORNELIO
283 10123600101   ROMANE JOELLE           LONGUEVILLE
284 10200954501   ROMAR                   REID
285 9000010801    RYAN                    ROLISON
286 10627241001   RYAN ALAN               MILLER
287 10353654101   SADDIQ                  BEY
288 10345876101   SARAH JESSICA           FULLER
289 10114970001   SAVANNA J               FAULCONER
290 10553320801   SEAN                    CLIFFORD
291 9000019201    SEAN                    HJELLE
292 10226992001   SETH D                  HENIGAN
293 10319845301   SHAQUEM                 GRIFFIN
294 10319846501   SHAQUILL                GRIFFIN
295 9000020101    SHEA                    LANGELIERS
296 10406869301   SHEA CHRISTOPHER        PATTERSON
297 10264964901   SLADE                   CECCONI
298 10106258801   SOPHIE ELIZABETH        CUNNINGHAM
299 10399818401   SPENCER                 MACKE
300 10345715001   SPENCER GEORGE          JONES
301 10441953201   STANLEY                 DYE
302 10186006701   STEPHAN                 BLAYLOCK
303 10339048001   STEPHEN DEON            CARR
304 10399844501   TAJZMEL                 SHERMAN
305 10411041701   TANNER                  MORGAN
306 10264744601   TATHAN                  MARTELL
307 9000025501    TAYLER                  PERSONS
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308 10272954201   TAYLOR                  RAPP
309 10168612201   TEEGAN MAKAY            MADARA
310 60004591901   TEVIN                   BROYLES
311 10174492401   TIMMY                   HERNANDEZ
312 10060763901   TIMOTHY CHAD            HANSEN
313 10559025301   TRACE                   MCSORLEY
314 10132179001   TRAJAN ATOA JAMES       PILI
315 10082362201   TRENTON                 SIMPSON
316 10174410901   TREVON                  BRADFORD
317 10393269001   TREVON                  SIDNEY
318 9000024201    TREVOR                  SCOTT
319 10569283901   TREY                    LANCE
320 10322162101   TROY                    CAUPAIN
321 10327318901   TROY CHARLES            FUMAGALLI
322 10126474401   TRU                     THOMPSON
323 10088826401   TYJON                   LINDSEY
324 60004098401   TYLER                   BAUM
325 10115387901   TYLER                   HERRO
326 10264878501   TYREE                   ST LOUIS
327 10132151001   URIAH                   LEIATAUA
328 10329114301   VALENTINO               DALTOSO
329 10278788801   VANCE                   JACKSON
330 10407086901   VICTOR MORITZ           WAGNER
331 20001203001   VINCENT                 SAMPSON
332 10399825101   VINCENT TREVON          MITCHELL
333 10071816401   WESTIN BRANNING         GRAVES
334 10115926201   WILL                    LEVIS
335 10130617901   WILLIAM JACOB           FROMM

336 10038339701   XAVIER                  SIMPSON
337 10559630901   YETUR                   GROSS-MATOS
338 9000021401    ZACHARY                 GELOF
339 10132297501   ZACHARY                 KATOA
340 10132317701   ZACHARY                 WILSON
341 10132084001   ZACHARY G               DAWE
342 10407053501   ZAKARIE                 IRVIN
343 10234469301   ZION                    BETHEA
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            EXHIBIT B
          Case 4:20-cv-03919-CW          Document 719   Filed 03/03/25   Page 14 of 96



 1
                                UNITED STATES DISTRICT COURT
 2
                             NORTHERN DISTRICT OF CALIFORNIA
 3
                                        (OAKLAND DIVISION)
 4

 5

 6   In re: College Athlete NIL Litigation           No. 4:20-CV-03919 (N.D. Cal)
 7                                                   AMENDED INJUNCTIVE RELIEF
                                                     SETTLEMENT
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                                   APPENDIX A
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                               AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                        Case No. 4:20-CV-03919
     Case 4:20-cv-03919-CW              Document 719       Filed 03/03/25      Page 15 of 96




                                             ARTICLE 1

                                          DEFINITIONS

       Section 1.      As used in this Injunctive Relief Settlement, the following terms shall have

the following meanings unless expressly stated otherwise:

       (a)    “Academic Year” means July 1 of any given calendar year during the Term through

and including June 30 of the following calendar year.

       (b)    “Action” means In re: College Athlete NIL Litigation, Case No. 4:20-CV-03919

(N.D. Cal).

       (c)    “Associated Entity or Individual” means:

              a. An entity that is or was known (or should have been known) to the athletics

                    department staff of a Member Institution, to exist, in significant part, for the

                    purpose of (i) promoting or supporting a particular Member Institution’s

                    intercollegiate athletics program or student-athletes; and/or (2) creating or

                    identifying NIL opportunities solely for a particular Member Institution’s

                    student-athletes;

              b. An individual who is or was a member, employee, director, officer, owner, or

                    agent of an entity described in Section 1(c)(a) above;
              c. An individual who directly or indirectly (including contributions by an

                    affiliated entity or family member) has contributed more than $50,000 over

                    their lifetime to a particular Member Institution or to an entity described in

                    Section 1(c)(a) above;

              d. An individual or entity that (1) has been directed or requested by a Member

                    Institution’s athletics department staff to assist in the recruitment or retention

                    of prospective or current student-athletes, or (2) otherwise has assisted in the

                    recruitment or retention of prospective or current student-athletes; or

                                                  2
                            AMENDED INJUNCTIVE RELIEF SETTLEMENT
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               e. Any entity owned, controlled, or operated by, or otherwise affiliated with, the

                   individuals or entities described in Section 1(c)(a)-(d) above other than a

                   publicly traded corporation.

       (d)     “Class Counsel” means the law firms of Winston & Strawn LLP and Hagens

Berman Sobol Shapiro LLP, with Steve Berman and Jeffrey Kessler as co-lead Class Counsel, or

such other counsel as may be appointed by the Court during the Term of the Injunctive Relief

Settlement.

       (e)     “Conference Defendant” means individually each of the Atlantic Coast Conference

(the “ACC”), The Big Ten Conference, Inc. (the “Big Ten”), The Big 12 Conference, Inc. (the

“Big 12”), the Pac-12 Conference (the “Pac-12”), and the Southeastern Conference (the “SEC”);

collectively the foregoing are referred to as “Conference Defendants”.

       (f)     “Court” means the United States District Court for the Northern District of

California.

       (g)     “Defendants” means, collectively, the NCAA, the ACC, the Big Ten, the Big 12,

the Pac-12, and the SEC.

       (h)     “Designated Enforcement Entity” means the NCAA and/or such other entit(ies) as

may be designated by the Conference Defendants that is responsible for rule-enforcement activities

set forth in and permitted by this Injunctive Relief Settlement and the SSA, including but not

limited to investigating alleged violations and serving as the party seeking enforcement in any

arbitration that occurs pursuant to Article 6, Section 2.

       (i)     “Designated Reporting Entity” means the entit(ies) designated by Defendants to

receive the information described in Article 2, Sections 4 and 5.

       (j)     “Final Approval” means when the Court issues an order finally approving the

Stipulation and Settlement Agreement and has entered judgment in accordance with its terms but

does not include any appeals periods or appeals of that judgment.

       (k)     “Injunctive Relief Settlement” means this Appendix A to the SSA.
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        (l)     “Member Institution” means any college, school, or university that is a member in

any sport of NCAA Division I and/or a Conference Defendant, together with any entity owned,

controlled, funded, or operated by said college, school, or university (or any division or department

thereof).

        (m)     “NIL” or “name, image and likeness” means a person’s name, nickname(s), picture,

portrait, likeness, signature, voice, caricature, identifying biographical information, or other

identifiable features.

        (n)     “Non-Defendant Conferences” means all NCAA Division I conferences that are not

named as Conference Defendants.

        (o)     “Non-Defendant Conference Member Institutions” means all NCAA Division I

Member Institutions that are not members of any Conference Defendant.

        (p)     “Pool” means the benefits pool as described in Article 3.

        (q)     “Membership Financial Reporting System Reports” or “MFRS” means the annual

financial data reported by NCAA members pursuant to NCAA Constitution, Article 2(D)(1)(c), in

the form currently reported or as otherwise expressly permitted by this Injunctive Relief

Settlement.

        (r)     “NCAA” means the National Collegiate Athletic Association.

        (s)     “Shared Revenue” has the meaning as described in Article 3.

        (t)     “Stipulation and Settlement Agreement” or “SSA” means the Stipulation and

Settlement Agreement to which this Injunctive Relief Settlement is attached as Appendix A,

entered into as of September 26, 2024, by and between Plaintiffs, both individually and on behalf

of the Classes, and Defendants, in In re: College Athlete NIL Litigation, Case No. 4:2020-CV-

03919 (N.D. Cal).

        (u)     “Term” means ten (10) Academic Years after the date of Final Approval of the SSA

by the Court.


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       Section 2. Further Definitions. In addition to the foregoing, any capitalized terms

otherwise defined in the SSA shall have the same meaning as described therein.




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                                           ARTICLE 2

                  PAYMENTS TO STUDENT ATHLETES & REPORTING

       Section 1. Payment Rules. Defendants shall change all NCAA Division I and Conference

Defendant rules to permit payments to student-athletes contemplated by the terms of this Injunctive

Relief Settlement. For avoidance of doubt, payments that are not contemplated by this Injunctive

Relief Settlement (e.g., any payment to a student-athlete that, when aggregated with other

payments above those permitted by NCAA Division I rules as of the date of the motion for

preliminary approval, would result in a Member Institution exceeding the Pool defined below)

remain prohibited.

       Section 2. Member Institution Payments for NIL, Institutional Brand Promotion, or

Other Rights. Each Member Institution, and each student-athlete, will have the right to enter into

an exclusive or non-exclusive license and/or endorsement agreement for that student-athlete’s NIL,

institutional brand promotion, or other rights as permitted by this Injunctive Relief Settlement,

provided, however, that no such licenses or agreements shall authorize payments for the right to use

a student-athlete’s NIL for a broadcast of collegiate athletic games or competitive athletic events. In

addition the Member Institution or a designee/subcontractor of the Member Institution (e.g., a local

rights holder) may act as the marketing agent for the student-athlete with respect to third-party NIL

contracts; provided, however, that a parent, guardian, lawyer, or other competent representative may

assist the student-athlete in discussions regarding entering into an exclusive or non-exclusive license

or endorsement agreement, unless the student-athlete waives in writing the assistance of a parent,

guardian, lawyer, or other competent representative.

       Neither Defendants nor their Member Institutions may enter into any NIL agreement

including but not limited to any licensing, institutional brand promotion, or endorsement agreement

with a prospective or enrolled student-athlete for a term that extends beyond his or her eligibility to

participate in NCAA sports; provided, however, that if a Defendant or a Member Institution has

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licensed the rights to use the NIL of a student-athlete to promote the Defendant or the Member

Institution’s academic or athletic program in content created while the student-athlete is enrolled,

such licensee shall not be required to discontinue use of such content, if and as permitted by the

agreement with the student-athlete, after that student-athlete’s eligibility has expired. For avoidance

of doubt, such licensee shall not be permitted by the prior sentence, after the student-athlete’s

eligibility has expired, to sell goods and services incorporating the NIL of the student-athlete, or to

continue (or continue to authorize) use of the NIL of such student-athlete to promote the goods or

services of a third party.

        Section 3. Third Party NIL Payments. The NCAA shall not have any Division I rules

prohibiting student-athletes from receiving payments from third parties for NIL, other than as set

forth in this Injunctive Relief Settlement. For the avoidance of doubt, entities or organizations that

are owned, controlled, or operated by Member Institutions and/or conferences are not third parties.

Subcontractors of a Member Institution will not be considered third parties in instances and to the

extent they are acting as an agent, facilitator, and/or administrator for a Member Institution

whereby they are making payments to student-athletes that originate from/are paid by a Member

Institution.

        Section 4. Mandatory Student-Athlete Reporting. All Division I student-athletes will

be required to report to (a) the Member Institution in which they are enrolled and/or (b) the

Designated Reporting Entity any and all third-party NIL contracts or payments with a total value

of six hundred dollars ($600.00) or more on a schedule to be determined by Defendants. If a

student-athlete enters into multiple NIL agreements or receives multiple NIL payments from the

same or substantially the same third parties including, by way of example, any affiliates or parties

with common ownership, such activities must be disclosed if the aggregate value is at or above six

hundred dollars ($600.00).



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       Section 5. Mandatory Member Institution Reporting. Each Conference Defendant

Member Institution will be required to report each NIL contract or payment reported to the

Conference Defendant Member Institution pursuant to Section 4 of this Article to the Designated

Reporting Entity on a schedule to be determined by Defendants, with Class Counsel also to receive

a copy of such reports. In addition, each Conference Defendant Member Institution also will be

required to report to the Designated Reporting Entity pursuant to Section 4 of this Article, on a

schedule to be determined by Defendants:

               i. any exclusive or non-exclusive license and/or endorsement agreement between

       a Conference Defendant Member Institution and a student-athlete for a student-athlete’s

       NIL, institutional brand promotion, or other rights including those in which a

       designee/subcontractor of the Conference Defendant Member Institution (e.g., a local

       rights holder) acts as an agent, facilitator, administrator, or in any other capacity for a

       Conference Defendant Member Institution whereby they are making payments to one or

       more student-athletes that originate from, are funded by, or are otherwise made on behalf

       of a Conference Defendant Member Institution; and,
               ii. any other payments or personal benefits (as detailed in Article 3, Section 3,

       Subsection (d)) that are provided to a student-athlete or the family of a student-athlete by a

       Conference Defendant Member Institution.

       Section 6. Non-Defendant Conference Member Institutions. All Non-Defendant

Conference Member Institutions that choose to provide or facilitate payments or benefits to

student-athletes as permitted by this Injunctive Relief Settlement including but not limited to

incremental scholarships permitted by Article 3, Section 3(b), shall be bound to the same extent as

Conference Defendant Member Institutions by all obligations, benefit limitations, and roster limits

set forth in this Injunctive Relief Settlement and as set by the NCAA in Appendix B to the SSA.

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                                               ARTICLE 3

                                           BENEFITS POOL

       Section 1. Benefits Pool. Current NCAA Division I and Conference Defendant rules will

be modified consistent with this Article to permit the following payments and benefits to Division I

student-athletes.

       (a)     Each Member Institution will be permitted, but not required, to distribute, each

Academic Year, additional payments and/or benefits to student-athletes over and above annual

existing scholarships and all other benefits currently permitted by NCAA rules as of the date of

the filing of the motion for final approval up to a certain amount (the “Pool”).

       (b)     The Pool will begin in the first Academic Year after Final Approval of the SSA.

       (c)     “Shared Revenue” for purposes of the Pool means, for each Member Institution,

revenue categories 1, 7, 11, 12, 13, 13A, 15, and 19 from the MFRS as currently detailed in

Appendix A of the NCAA 2024 Agreed-Upon Procedures (attached as Attachment 1), regardless

of whether a Member Institution owns or has legal title to those revenues. For purposes of this

Injunctive Relief Settlement, Category 1 (“Ticket Sales”) shall include actual monetary revenues

received by or for the benefit of Member Institutions for suite licenses exclusive of (a) any

associated philanthropy (Category 8) and (b) the use of suites for any purposes not related to

student athletic events (e.g., concerts). If any changes are made to the required reporting of

revenues in the NCAA Agreed Upon Procedures or the Membership Financial Reporting System,

the Parties shall work in good faith to ensure accurate reporting of the revenue categories that are

calculated to determine Shared Revenues and the Pool.

       (d)     “Average Shared Revenue” for purposes of the Pool shall be calculated as follows.

The Shared Revenue for all Conference Defendant Member Institutions, including Notre Dame,

from the most recent Membership Financial Reporting System Reports available shall be added

together. That total number will then be divided by the total number of Conference Defendant

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Member Institutions plus Notre Dame. The resulting number will be the “Average Shared

Revenue.”

       (e)     In the first year in which the Pool is implemented, the Pool shall be twenty-two

percent (22%) of the Average Shared Revenue. The Pool will remain at 22% of Average Shared

Revenue throughout the Term.

       (f)     Except as set forth in subsection (h) below, the Average Shared Revenue will be

recalculated as set forth in subparagraph (d) above every three (3) years. In the second and third

years of each three-year period, the Average Shared Revenue shall increase by 4% over the

previous year’s amount, subject only to the two exceptions set forth in subsection (h), below.

       (g)     Accordingly, over the Term, and subject to only the two exceptions set forth in

subsection (h), below, the Pool shall be calculated as follows:

              Year 1     22% of Average Shared Revenue based on the most recent

                         Membership Financial Reporting System Reports available

              Year 2     Year 1 amount x 1.04

              Year 3     Year 2 amount x 1.04

              Year 4     22% of Average Shared Revenue based on the most recent

                         Membership Financial Reporting System Reports available

              Year 5     Year 4 amount x 1.04

              Year 6     Year 5 amount x 1.04

              Year 7     22% of Average Shared Revenue based on the most recent

                         Membership Financial Reporting System Reports available

              Year 8     Year 7 amount x 1.04


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              Year 9        Year 8 amount x 1.04

              Year 10 22% of Average Shared Revenue based on the most recent

                            Membership Financial Reporting System Reports available

       (h)         The two, and only two, exceptions to the procedures set forth in subsections (a)-(g)

are as follows.

              i.      If, during the Term, any new broadcast agreement captured in the Media Rights

                      MFRS Category (#11) has a specific contractual provision setting a year-over-

                      year rights fee escalator greater than 4% that is not contingent on future events

                      at the time of resetting the Pool, in the second and/or third years of each three-

                      year period the average escalator across all of the broadcast agreements

                      captured in Media Rights shall be used for that revenue category in the

                      corresponding contract year(s) in lieu of the four percent (4%) growth rate for

                      that revenue category, provided that, in no circumstances, shall the escalator for

                      the Media Rights revenue category be less than four percent (4%) per year,

                      consistent with Article 3, Section 1(f).

             ii.      Class Counsel shall have two (2) opportunities within the term of the Injunctive

                      Relief Settlement to accelerate the re-calculation of the Pool based on the most

                      recent Membership Financial Reporting System Reports available. If Class

                      Counsel wishes to exercise their option, they must provide notice within thirty

                      (30) days of receipt of the Membership Financial Reporting System Reports. A

                      new three-year period shall commence in the first Academic Year after notice

                      of exercise of the option, with the Pool amount increasing by four percent (4%)

                      in the second and third years of such period. By way of example, if Class

                      Counsel elected to exercise these options in Years 3 and 8 of the Settlement,

                      the Pool would be calculated as follows over the Term:
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             Year 1       22% of Average Shared Revenue based on the most recent

                          Membership Financial Reporting System Reports available

             Year 2       Year 1 amount x 1.04

             Year      3 22% of Average Shared Revenue based on the most recent

             (RESET) Membership Financial Reporting System Reports available

             Year 4       Year 3 amount x 1.04

             Year 5       Year 4 amount x 1.04

             Year 6       22% of Average Shared Revenue based on the most recent

                          Membership Financial Reporting System Reports available

             Year 7       Year 6 amount x 1.04

             Year      8 22% of Average Shared Revenue based on the most recent

             (RESET) Membership Financial Reporting System Reports available

             Year 9       Year 8 amount x 1.04

             Year 10      Year 9 amount x 1.04

       (i)     In the event that there is a nationwide force majeure event, such as the outbreak of

a virus, which requires the cancellation of games or the playing of games without fans in

attendance, the Parties shall negotiate in good faith as to whether a force majeure change in the

Pool calculation is warranted.

       Section 2. Institutional Decision-Making and Conference-Level Rules. Each of the

Member Institutions, subject to any independently set conference-level rules or guidelines (i.e.,

conference-level rules or guidelines imposed by a conference without agreement with the NCAA

or any other conferences), shall unilaterally decide/determine whether and how much of any


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benefits newly permitted by this Injunctive Relief Settlement to provide to any individual Division

I student-athlete (up to the Pool amount).

       Section 3. Counting Benefits Against the Pool. Any newly permitted amounts or

benefits provided to individual student-athletes by Member Institutions (directly, through an

exclusive or non-exclusive license between the student-athlete and the Member Institution (see

Article 2, Section 2), or otherwise)—shall count against the Pool except for proceeds from third-

party NIL sublicenses and arrangements as specified in subsection 3(c) of this Article. The

following provisions will govern the amounts of other new benefits that will count against the Pool

for the Member Institution providing such other benefits:
       (a)     Alston Awards. Alston academic and graduation incentive awards up to the annual

amount payable pursuant to the permanent injunction entered on March 8, 2019 in the matter

captioned In re: National Collegiate Athletic Association Athletic Grant-in-Aid Cap Antitrust

Litigation, Case No. 14-MD-2541 (N.D. Cal.) (“Alston case”) (currently $5,980 and as may be

adjusted in the future) (“Alston Awards”) will count against the Pool; the amount of such Alston

Awards that will count against the Pool will be capped at two million five hundred thousand dollars

($2,500,000.00, the “Alston Cap”) per Member Institution per year in recognition of institutions

that pay such awards to a larger number of student-athletes. In the event that the overall value of

the Pool has increased over the value of the Pool at the time of the immediately prior Pool

recalculation occurring after a three-year period (or earlier, on no more than two occasions, under

Article 3, Section 1(h)(ii)), the Alston Cap shall be increased for the following three-year period

by a proportional amount. There shall be no NCAA Division I limitation on how many students

at a school may be awarded an Alston Award. For the avoidance of doubt, nothing in this paragraph

requires a Member Institution to pay Alston Awards, but if the Member Institution chooses to do

so, this paragraph will govern how such awards are counted with regard to the Pool.
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        (b)     New Athletic Scholarships. As a result of the elimination of scholarship limits (see

Article 4, Section 1), Member Institutions will have the option of making incremental athletic

scholarships available to student-athletes above the number currently permitted by NCAA

Division I rules for a particular sport, subject to the roster limits addressed in Article 4, Section 1.

The full cost-of-attendance dollar value of any new or incremental athletic scholarships—that were

not previously permitted by NCAA Division I rules—up to two million five hundred thousand

dollars ($2,500,000.00) (“the Athletic Scholarship Cap”) will count against the Pool (again, in

recognition of schools that award a greater number of athletic scholarships). For example, if a

school is currently offering 9 scholarships in baseball, versus the 11.7 permitted, and post-Final

Approval opts to award 15 scholarships in baseball, the number of new scholarships would be 3.3.

Each Member Institution shall certify to the Designated Enforcement Entity whether and to what

extent it has provided such new or incremental athletic scholarships. In the event that the overall

value of the Pool has increased over the value of the Pool at the time of the immediately prior

recalculation occurring after a three-year period (or earlier, on no more than two occasions, under

Article 3, Section 1(h)(ii)), the Athletic Scholarship Cap shall be increased for the following three-

year period by a proportional amount. Other than the roster limits discussed in Article 4, Section

1, there shall be no NCAA Division I limitation on how many new athletic scholarships may be

awarded by a school.

        (c)     Proceeds of Third-Party Arrangements. If a Member Institution contracts with

any individual student-athlete, directly or through a designee/subcontractor of the Member

Institution (e.g., a local rights holder), to act as marketing agent for that student-athlete (as opposed

to contracting with the student-athlete directly), third-party payments procured for the student-

athlete shall not be counted against the Pool. If the Member Institution elects to sub-license to a
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third party any rights it has secured through a direct contract with any individual student-athlete,

the proceeds of third-party NIL licenses or sublicenses procured for the student-athlete by the

Member Institution or its designee/subcontractor for the student-athlete will not be counted against

the Pool, nor will any other third-party payments made directly to a student-athlete be counted

against the Pool.

       (d)     Other Personal Benefits. All payments to student-athletes (for NIL, institutional

brand promotion, or otherwise) and personal benefits (e.g., vehicles, travel expenses not permitted

as of the date of Preliminary Approval by NCAA Division I, and the like) that are provided to a

student-athlete or the family of a student-athlete by a Member Institution over and above the

payments and personal benefits permitted by the NCAA rules as of the day of Preliminary

Approval, shall be counted against the Pool. However, existing payments or benefits provided

through SAF or otherwise to student-athletes or other payments currently permitted by NCAA

Division I rules, including compensation or benefits related to education identified in Paragraph 2

of the Alston permanent injunction, dated March 8, 2019, shall not count against the Pool except

for Alston Awards up to the Alston Cap.

       (e)     NCAA Payments/Benefits. The value of any benefits or payments provided by the

NCAA itself directly to or for the benefit of student-athletes shall not count against the Pool.

       Section 4. Existing Benefits/Payments. Nothing in this Injunctive Relief Settlement will

limit, nor shall it be read to limit, the amount of existing benefits or payments currently permitted

by NCAA Division I rules to be provided to student-athletes by any Member Institution (except as

provided above with respect to payments and benefits counting against the Pool) and Defendants

agree that during the Term (including any extension thereof) but subject to the terms of Article 4,

Section 3, the NCAA will not create any rules imposing new restrictions on such existing benefits.
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This provision does not, however, limit any Member Institution’s or any individual conference’s

ability, subject to Article 4 to independently elect to eliminate or reduce (a) any and all payments

or benefits currently provided to student-athletes at that Member Institution or that conference’s

Member Institutions or (b) any payments or benefits that may be provided in the future. For

avoidance of doubt, if a Non-Defendant Conference or a Non-Defendant Conference Member

Institution agrees to provide to student-athletes additional benefits permitted by NCAA Division I

rules prior to their modification as part of the Injunctive Relief Settlement (such as commencing

Alston payments for the first time), that will not trigger any reporting requirements pursuant to

Article 3, Section 5.

       Section 5. Pool Payments/Benefits Reporting. Within sixty (60) days after the close of

each Academic Year during the Term, Member Institutions shall provide information to the

Conference Defendants, or in the case of Member Institutions in Non-Defendant Conferences, to

the NCAA, sufficient to determine the total and types of payments/benefits the Member

Institutions have provided to student-athletes, including but not limited to new and incremental

scholarships and payments counting toward the Alston Cap, that have been counted against the

Pool in accordance with this Injunctive Relief Settlement. Conference Defendants and the NCAA

shall thereafter file a report with the Court and provide same to Class Counsel disclosing that

information.

       Section 6. Revenue Reporting & Audit Rights.

       (a)     Annual MFRS data shall be provided to Class Counsel (or such other

individuals/entity as Class Counsel may designate, in writing, during the Term) no later than May

15 of each year of the Injunctive Settlement unless good cause exists for delay. Class Counsel

shall have the right to reasonably audit such data in accordance with this Article 3, Section 6. The
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costs of any audit under this Article 6 shall be initially borne by Class Counsel, subject to Class

Counsel seeking reimbursement in accordance with the fee/cost provisions set forth in Paragraphs

27-30 of the SSA. The Parties agree that Defendants shall bear no liability for the accuracy or

completeness of information reported by the Member Institutions for inclusion in the MFRS data.

       (b)     Class Counsel shall have the right as part of their audit rights in the preceding

subsection to receive an accounting from an agreed-upon accounting firm of all revenue

categorized by the Member Institutions as Category 18 (“Other Operating Revenue”) so as to

determine whether, in Class Counsel’s opinion, any such reported revenue is more properly

reportable as one of the agreed-upon revenue categories and should therefore be included in the

Shared Revenue for purposes of the Pool. Any dispute arising over the proper treatment of such

revenues with respect to the Pool shall be resolved by the Court or a special master appointed by

the Court.

       (c)     Class Counsel shall also have the right to receive an accounting from an agreed-

upon accounting firm regarding whether any new broadcast agreement captured in MFRS

Category (#11) (Media Rights) has a specific contractual provision setting a year-over-year rights

fee escalator greater than 4% that is not contingent on future events such that the Pool growth rate

calculation for that revenue category is impacted, as described in Article 3, Section 1(h).

       (d)     The accounting firm shall also report on any changes in the definition of the revenue

categories of the MFRS Reports so as to allow Class Counsel the opportunity to confirm that there

has been no reclassification of the revenues currently included in the Pool calculation to excluded

revenue categories. If such reclassification occurs, the revenues shall be reallocated back to their

original categories (or otherwise included in the Pool calculation), with any dispute to be resolved

by the Court or a special master appointed by the Court.
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       (e)     Any disputes between Class Counsel and the Defendants as to the proper

categorizations, reclassification, or reallocation of any revenue included in the Pool shall be

submitted to the Court, or a special master appointed by the Court, for resolution, pursuant to

Article 6, Section 1.




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                                            ARTICLE 4

                              NCAA AND CONFERENCE RULES

       Section 1. Elimination of NCAA Division I Scholarship Limits. All NCAA Division I

athletic scholarship limits will be eliminated. The NCAA may adopt Division I roster limits which

are subject to revision by the Defendants as permitted by this Injunctive Relief Settlement.

Appendix B to the SSA sets forth the roster limits which the NCAA has currently chosen to adopt

that apply to Member Institutions that choose to provide or facilitate payments or benefits to

student-athletes as permitted by this Injunctive Relief Settlement, including but not limited to

incremental scholarships permitted by Article 3, Section 3(b). All athletic scholarships will be

equivalency awards. Defendants agree that any changes to NCAA Division I or conference rules

on roster limits shall not result in the loss of an athletic scholarship for any then-current student-

athlete receiving an athletic scholarship. Nor shall any change in roster limits result in a reduction

in the current number of athletic scholarships permissible under current NCAA Division I rules in

any sport. Member Institutions each maintain the right to unilaterally reduce the number of sports,

the roster size, and/or the number of athletic scholarships available to student-athletes of any sport.

Conferences each maintain the right to unilaterally reduce the number of sports Member

Institutions within their respective conferences are required to offer, the number of sports

sponsored by the conference, and/or the roster limits within their conference, subject to the

limitations noted above that reductions in roster limits will not result in the loss of athletic

scholarships for then-current student-athletes and that any change in roster limits shall not result

in a reduction in the current number of athletic scholarships permissible under current NCAA

Division I rules in any sport.

       Section 2. Existing NCAA Compensation Rules. Except to the extent that modification

or elimination is required by the terms of this Injunctive Relief Settlement, the NCAA’s and

conferences’ existing rules limiting the amount of compensation and benefits to Division I student-

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athletes may remain in effect. The Parties shall request that the Court approve all existing NCAA

rules regarding compensation and benefits that may or may not be provided by Division I

conferences or schools to student-athletes, revised as necessary to conform to the terms of this

Injunctive Relief Settlement.

       Section 3.    New NCAA and Conference Rules.              The NCAA and the Conference

Defendants may continue, and pass new rules further clarifying and implementing, their existing

prohibitions related to NIL transactions involving Associated Entities or Individuals. Such

clarifying rule changes may include specifying that the NCAA and/or the Conference Defendants

prohibit NIL payments by Associated Entities or Individuals (individually or collectively) to

current or prospective student-athletes unless the license/payment is for a valid business purpose

related to the promotion or endorsement of goods or services provided to the general public for

profit, with compensation at rates and terms commensurate with compensation paid to similarly

situated individuals with comparable NIL value who are not current or prospective student-athletes

at the Member Institution.

       The NCAA and the Conference Defendants may likewise adopt or affirm the following

additional rules before or in conjunction with Final Approval of this Injunctive Relief Settlement:

       (a)     NCAA and conference rules governing the number of seasons/length of time

student-athletes are eligible to receive benefits, including scholarships and payments, pursuant to

this Injunctive Relief Settlement, including any rule capping the number of years a student-athlete

may receive payments at four years, and providing that all four of those years must be played

within a consecutive five-year period (with the exception that in the event of a national force

majeure event that leads to the cancellation of games, or the absence of fans, the rules may provide

for an additional year to be added onto the five-year period);




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        (b)     NCAA and conference rules requiring that student-athletes continue to make

progress toward a degree while enrolled in any Member Institution in order to receive benefits

pursuant to this Injunctive Relief Settlement;

        (c)     NCAA and conference rules, subject to Class Counsel’s review and approval that

shall not be unreasonably withheld, permitting student-athletes the ability to seek guidance from

the Designated Enforcement Entity prior to entering into a proposed NIL contract or agreement as

to whether said contract may constitute a violation of the NCAA rules affirmed, revised, or created

pursuant to this Injunctive Relief Settlement;

        (d)     NCAA and conference rules, subject to Class Counsel’s review and approval that

shall not be unreasonably withheld, permitting a student-athlete to retain or regain eligibility by

both (a) rescinding or modifying any agreement determined to be non-compliant with the NCAA

rules affirmed, revised, or created pursuant to this Injunctive Relief Settlement and (b) returning,

as necessary, any compensation or consideration received pursuant to a non-compliant agreement,

in order to expunge any violation of the NCAA rules affirmed, revised, or created pursuant to this

Injunctive Relief Settlement. The purpose and intent of such rule is to ensure that student-athletes

have the ability to terminate and/or modify a proposed/executed NIL contract or agreement rather

than risk their eligibility; and

        (e)     NCAA and conference rules addressing circumvention subject to the procedures

set forth in Article 6, Section 3.




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                                           ARTICLE 5

                                PROHIBITED AGREEMENTS

       Section 1. Prohibited Collusive Agreements. Conference Defendants or their Member

Institutions (except as provided below with respect to conference rules) shall be prohibited from

entering into agreements with each other, or with the NCAA, to limit or restrict the amount of

benefits that they individually choose to provide to student-athletes at levels below those permitted

by the terms of this Injunctive Relief Settlement, other than in the event that a change in law or

circumstances permits collective bargaining to take place. In the event that a change in law or

circumstances permits collective bargaining to take place, this Article 5, Section 1 shall not apply

to prohibit any bona fide collective bargaining activities of the NCAA, Conference Defendants,

and Member Institutions but shall otherwise remain in full force and effect. Subject to Article 10,

Section 5, a violation of this provision shall be remedied by an award of appropriate damages and

equitable relief solely against the involved Member Institutions, conferences, or NCAA, as

determined by the Court or a special master appointed by the Court. Notwithstanding the

foregoing, individual conferences (acting through their Member Institutions) shall be permitted to

adopt and enforce rules applicable to their Member Institutions regarding benefits provided or not

provided to student-athletes. Class Counsel may bring an action to enforce the terms of this

provision to seek damages and equitable relief on behalf of any number of Injunctive Class

members. For the avoidance of doubt, nothing in the SSA or this Injunctive Relief Settlement, or

NCAA or conference rules permitted or approved by the Injunctive Relief Settlement, shall be

deemed to be a collusive agreement in violation of this provision.




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                                            ARTICLE 6

                                         ENFORCEMENT

        Section 1. Enforcement of Injunctive Relief Settlement.

        (a)     Any disputes involving any or all of the Defendants on one side and any Injunctive

Class Members on the other side concerning the interpretation or enforcement of this Injunctive

Relief Settlement shall, if they cannot be resolved by negotiation and agreement, be submitted to

the Court.    For the avoidance of doubt, any disputes regarding enforcement of NCAA or

conference rules against student-athletes or Member Institutions that are subject to this Injunctive

Relief Settlement, including but not limited to questions of eligibility, shall be governed by Section

2 of this Article.

        (b)     The Court shall retain jurisdiction to resolve all disputes that may arise concerning

compliance with, the validity of, interpretation or enforcement of the terms and conditions of this

Injunctive Relief Settlement, including through appointment of a special master whose decisions

shall be appealable to the Court unless the Parties agree in a particular dispute that the special

master’s ruling shall be final without further appeal. Absent any such agreement as to a particular

dispute, the Parties reserve all appeal rights with respect to special master or Court determinations

concerning the interpretation or enforcement of this Injunctive Relief Settlement.

        (c)     All claims set forth in subsection (b), immediately above, asserted on behalf of

student-athletes shall be prosecuted exclusively by Class Counsel except as provided herein, and

Class Counsel has the authority to exclusively monitor and enforce this Injunctive Relief

Settlement on behalf of Injunctive Class Members throughout the Term as provided herein.

        Section 2. Enforcement Authority and Arbitration Process for Enforcement of

NCAA/Conference Rules Implementing This Injunctive Relief Settlement

        (a)     Any one or more of the NCAA, Conference Defendants, and Non-Defendant

Conferences shall be permitted to (i) adopt rules and procedures consistent with and to enforce this

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Injunctive Relief Settlement, (ii) require submission of information and documentation from

student-athletes and Member Institutions to the NCAA or conferences or designated third parties,

and (iii) enforce (including through the Designated Enforcement Entity) NCAA and conference

rules implementing the terms of this Injunctive Settlement including rules to be promulgated

pursuant to Article 4, by, among other penalties, declaring student-athletes ineligible for

competition and/or by reducing distributions to Member Institutions that violate the terms and

limitations set forth in this Injunctive Relief Settlement and/or the new or modified NCAA and

conference rules.

        (b)     Prior to the entry of Final Approval, Class Counsel and Defendants shall meet and

confer to select neutral arbitrators, whose decisions shall, to the fullest extent permitted by

applicable law, be final and binding on the parties to the arbitration, to arbitrate any and all disputes

regarding any discipline imposed pursuant to subsection (a) immediately above or any rule(s)

promulgated pursuant to Article 4, Section 3. If an arbitrator is terminated by agreement of Class

Counsel and Defendants or by the Court, she or he will continue to hear any disputes already

pending before the arbitrator but may not hear any new disputes. Class Counsel and Defendants

shall promptly agree upon a replacement arbitrator, whenever required. If Class Counsel and

Defendants cannot agree on a replacement arbitrator within ten (10) days, they will choose the

arbitrator under the alternate striking method from a list of ten (10) non-conflicted arbitrators to

be provided by JAMS from its panel of neutral arbitrators in its Sports Law Practice Group.

        (c)     Arbitrators appointed pursuant to the preceding subsection shall serve a term of

three (3) years, unless terminated earlier by agreement of Class Counsel and Defendants (or by the

Court) through a written notification. A Member Institution that contests the imposition of

discipline on itself or its student-athlete(s), including by directly or indirectly paying the attorneys’

fees and costs of such student-athletes(s), pursuant to subsection (a) shall pay the arbitrator’s

reasonable fees and expenses for proceedings relating to the penalties being challenged. Student-

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athletes contesting any discipline shall not be charged any arbitration fees or expenses regardless

of whether a Member Institution contests the imposition of discipline.

        (d)     All arbitrations under this Section 2 shall be completed on an expedited basis, but

in no more than forty-five (45) days after commencement of proceedings unless the arbitrator finds

good cause for having a longer schedule. During the pendency of an arbitration, any enforcement

of any discipline imposed in connection with the violation that is subject to the arbitration shall be

stayed; provided, however, that the arbitrator shall have the ability to lift any such stay for good

cause shown. The decision of the arbitrator shall be final and binding to the fullest extent permitted

by applicable law. The arbitrator may, in an appropriate case, order the production of documents

that are determined to be necessary for a fair adjudication of the dispute. Witnesses may be called

at the arbitration and the parties may be represented by counsel of their choice at their own expense.

The arbitrator shall promptly issue a written award embodying his or her decision. Defendants

may agree with Class Counsel upon procedural rules governing the arbitration process, provided

that all arbitration rules must be consistent with this Section 2 and must apply uniformly to all

student-athletes and all Member Institutions that choose to provide or facilitate payments or

benefits to student-athletes as permitted by this Injunctive Relief Settlement, including but not

limited to incremental scholarships permitted by Article 3, Section 3(b).

        (e)     If student-athletes seek to challenge any discipline imposed on them in connection

with the terms of this Injunctive Relief Settlement, they shall be required to engage in the

arbitration process set forth in this Section 2. If Member Institutions seek to challenge any

discipline imposed on them or their student-athletes in connection with the terms of this Injunctive

Relief Settlement, they shall be required to engage in the arbitration process set forth in this Section

2, to the extent such an arbitration requirement is consistent with the state law of the institution

involved in the dispute.



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       (f)     Student-athletes will have the right to be represented by counsel of their choosing

in any such arbitration regarding the Injunctive Class Member’s individual interests. Class

Counsel shall promptly receive copies of all decisions by the arbitrator.

       Section 3. NCAA or Conference Rules Relating to Circumvention. The Defendants

may adopt rules that prohibit any transaction, payment, or agreement designed to defeat or

circumvent, and with the effect of defeating or circumventing, the intention of the Parties as

reflected in the terms of this Injunctive Relief Settlement. Class Counsel shall receive notice of

any such new rules to prevent circumvention and shall have thirty (30) days to file an objection to

such rules with the Court or a special master appointed by the Court. In the event of such an

objection, the proposed circumvention rule(s) shall be stayed for four (4) months pending judicial

resolution. Upon receiving an objection from Class Counsel, Defendants shall reasonably

cooperate with requests for documents in the possession of Defendants sufficient to show the

reasons for adopting the rule, the deliberations on the rule, and any committee reports or minutes

of meetings relating to the rule, and shall produce those documents to Class Counsel as soon as

reasonably possible, but in no event later than two (2) weeks from the date of the objection. For

the avoidance of doubt, the procedure set forth in this Article 6, Section 3, shall apply only to

circumvention rules. If a circumvention rule is adopted and then enforced against any Member

Institution or student-athlete, such discipline may be appealed by the student-athlete or Member

Institution pursuant to the arbitration procedure set forth in Article 6, Section 2. Class Counsel

may file an amicus brief and present argument in such a proceeding upon a determination by the

arbitrator, or if Class Counsel believes, that the interests of the Injunctive Class may be adversely

impacted by the outcome of the proceeding or that the circumvention arguments being presented

are inconsistent with the terms of the Injunctive Relief Settlement; provided, however, that Class

Counsel may seek reimbursement of fees and costs, in accordance with Paragraph 27 of the SSA,

relating to its participation in no more than two (2) such arbitrations in an Academic Year.


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                                            ARTICLE 7
                     LEGISLATION & ALTERNATIVE STRUCTURES

       Section 1. Legislation. Class Counsel will use reasonable efforts to support the portions

of any proposed federal or state legislation implementing/codifying this Injunctive Relief

Settlement, including reasonably cooperating to support antitrust immunity for conduct undertaken

by Defendants in compliance with or to implement the terms of this Injunctive Relief Settlement

during the Term or any court-approved extension thereof, and preemption of any state law existing

before or as of the date of Final Approval in conflict with this Injunctive Relief Settlement. Class

Counsel will not oppose, advocate against, lobby in any way against, or otherwise attempt or seek

to undermine legislation implementing/codifying this Injunctive Relief Settlement. Class Counsel

further agree, during the Term, to take no position and thus be neutral on any proposed, pending,

or future local (e.g., city/county), state, or federal legislation provisions which would provide

student-athletes with benefits in addition to those permitted by this Injunctive Relief Settlement.

Class Counsel will also take no position, and thus be neutral, in all instances and in all forums and

venues, on the issue of whether student-athletes should be considered/deemed “employees” or

whether collective bargaining should be permitted for compensation of student-athletes. However,

if such collective bargaining for student-athletes is permitted in the future, Class Counsel shall not

be precluded from representing any organization engaged in such collective bargaining, including

in support of such bargaining activities.

       Section 2. Alternative Structures. Nothing in this Injunctive Relief Settlement shall limit

or interfere with the ability of student-athletes and Defendants or Defendants’ Member Institutions

and Non-Defendant Conferences or Non-Defendant Conference Member Institutions to explore

and implement alternative structures for providing benefits to student-athletes, including but not

limited to collective bargaining in the event that a change in law or circumstances permits such

collective bargaining to take place. In such a circumstance, the benefits permitted under this

Injunctive Relief Settlement may be made part of any collectively bargained compensation
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package or alternative structure, subject to the negotiations of the relevant parties and all applicable

laws, and this Injunctive Relief Settlement shall not preclude the parties to such bargaining from

agreeing upon additional, expanded or different benefits than those permitted by this Injunctive

Relief Settlement. Relatedly, if some or all student-athletes are characterized as and/or definitively

determined to have employee status under state or federal law and any Defendant or Releasee is

required to pay any monies/provide any benefits to student-athletes, or student-athletes otherwise

receive benefits as a result, beyond the monies and benefits provided in this Injunctive Relief

Settlement, the Defendants shall have the option, but not the obligation, to seek to terminate or

modify the injunction contemplated by this Injunctive Relief Settlement or the terms of this

Injunctive Relief Settlement (with all releases of Released Claims remaining valid and no claims

accruing during the period of the effectiveness of the injunction), but with Class Counsel reserving

their rights to oppose any such termination or modification of the injunction contemplated by this

Injunctive Relief Settlement or the terms of this Injunctive Relief Settlement.




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                                            ARTICLE 8

                                 NAME, IMAGE & LIKENESS

       Section 1.      Broadcast & Promotional NIL

       (a)     Plaintiffs and the Injunctive Classes do not and will not contest during the Term the

rights asserted by the Defendants and their Member Institutions, and entities to which rights to

broadcast and otherwise distribute audio and video of collegiate games and other competitive

collegiate athletic events are licensed by the Defendants and their Member Institutions, to (i)

telecast, broadcast, or otherwise distribute or transmit, on a live, delayed, and/or archived basis, in

any and all media now known or hereafter developed, any and all college games and competitive

events, including clips and highlights thereof, (ii) produce, license, offer for sale, sell, market, or

otherwise distribute or transmit on a live, delayed, and/or archived basis, broadcasts and other

electronic or digital distributions of any such collegiate athletic games or competitive athletic

events, and clips and highlights thereof, in any and all media now known or hereafter developed,

including, but not limited to electronic or digital media, and (iii) use, employ, or otherwise transmit

or publish student-athletes’ NIL for the purpose of promoting the telecasts, broadcasts, and other

electronic or digital distributions of games and competitive events, including distribution of clips

and highlights thereof, as referenced in this paragraph.

       (b)     Nothing herein shall be construed to confer, during or after the Term, any right or

authority to use a student-athlete’s name, image or likeness in a manner that constitutes an

endorsement by that student-athlete of a third-party brand, product, or service (“Endorsement”)

other than in connection with promotion of games or events that have title sponsors (by way of

example only, events such as the “Allstate Sugar Bowl” or the “Las Vegas Bowl presented by

GEICO”), including games or events that are organized by or affiliated with a conference with a

title sponsor. Nothing herein shall be construed to grant any publicity rights for use in licensed

consumer products, whether traditional or digital (e.g., video games, trading cards, apparel). For

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purposes of clarity, and without limitation, it shall not be an Endorsement to use, or authorize

others to use, including without limitation, in third-party advertising and promotional materials,

footage and photographs of a student-athlete’s participation in college athletic games or

competitive athletic events (including clips and highlights thereof) as long as the clips and

highlights do not prominently feature an individual student-athlete in connection with a third party

product or service, other than in connection with promotion of games or events that have title

sponsors or are organized by or affiliated with a conference with a title sponsor as described in this

section.

       Section 2. Broadcast NIL Reservation. The Parties reserve all rights as to the existence,

or non-existence, of broadcast name-image-and-likeness (“BNIL”) rights (including the use of a

person’s NIL in or in connection with a broadcast, telecast or other media distribution or

transmission, including, without limitation, all forms of television, radio, telephone, internet, and

any other communications media, forms of reproduction and other technologies, whether presently

existing or not, anywhere in the world, whether live or on any form of delay, including, without

limitation, network, local, cable, direct broadcast satellite, and any form of pay television, and all

other means of distribution and exploitation, whether presently existing or not and whether now

known or hereafter developed). To the extent that any court of competent jurisdiction determines

and/or to the extent that any relevant legislative body passes a law providing that student-athletes

have such rights, then the Defendants and their Member Institutions, and entities to which rights

to broadcast and otherwise distribute college athletic games and competitive athletic event are

licensed by the Defendants and their Member Institutions, shall be deemed to have been granted a

license to exercise all rights enumerated in Article 8, Section 1, subject to the limitations set forth

in that section, for the duration of the Term.




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                                            ARTICLE 9

                                               TERM

       Section 1. Term. The term of this Injunctive Relief Settlement shall be ten (10) Academic

Years after the date of Final Approval of the SSA by the Court.

       Section 2. Potential Extension. The Parties will negotiate in good faith, prior to the

conclusion of the Term, as to whether to jointly seek an extension of the Term upon its expiration

on terms to be agreed upon and approved by the Court, after notice and an opportunity to object

by the members of the Injunctive Relief Settlement Class.

       Section 3. Mutual Reservation of Rights. Upon the expiration or termination of this

Injunctive Settlement, the Parties shall be free to make any available argument that any conduct

occurring after the expiration or termination of this Injunctive Settlement is or is not then a

violation of the antitrust laws or any other laws.




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                                          ARTICLE 10

                                      MISCELLANEOUS

       Section 1. Conflicts. The provisions of this Injunctive Relief Settlement supersede any

conflicting provisions in any rule or policy, or any other document, adopted by Defendants or any

of their Member Institutions, affecting the matters addressed herein.

       Section 2. Implementation. The Parties will use their best efforts to faithfully carry out

the terms and conditions of this Injunctive Relief Settlement.

       Section 3. Time Periods. The specification of any time period in this Injunctive Relief

Settlement shall include any non-business days within such period, except that any deadline falling

on a Saturday, Sunday, or Federal Holiday shall be deemed to fall on the following business day.

       Section 4. Delivery of Documents. The Parties, shall, upon the request of any Party

hereto, execute and deliver such further documents and instruments to take such further steps as

are reasonably necessary and appropriate to implement and effectuate the purposes of this

Injunctive Relief Settlement.

       Section 5. Eleventh Amendment and Sovereign Immunity. Plaintiffs acknowledge that

Defendants do not have the authority to waive or compromise any immunity or protection of any

Member Institution pursuant to the Eleventh Amendment to the United States Constitution or any

other applicable provisions of the law of the state in which the Member Institution is located.

Notwithstanding the above, Plaintiffs and Class Counsel reserve their rights as to whether

sovereign immunity has any application to this Injunctive Relief Settlement.

       Section 6. Compliance with Protective Order. All filings submitted to the Court or a

special master appointed by the Court relating to or in connection with this Injunctive Relief

Settlement shall comply with the protective order entered in the Action (ECF 136), which shall

remain in full force and effect for the duration of the Term.



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INTRODUCTION
NCAA constitution, Article 2(D)(1)(c) states that all members of the NCAA must submit annually
its financial data as determined by the division detailing operating revenues, expenses and capital
relating to the intercollegiate athletics program.

Division I:
As mandated under the provisions of NCAA Bylaw 20.2.4.17, NCAA Division I member
institutions are required to submit financial data detailing operating revenues, expenses, and capital
related to its intercollegiate athletics program to the NCAA on an annual basis. This financial data
is subject to agreed-upon procedures performed by a qualified independent accountant and must
be presented to the president or chancellor prior to submission to the NCAA via the Membership
Financial Reporting System, Bylaw 20.2.4.17.1.

Division II:
As mandated under Bylaw 7.3.1.5.22.1, at least once every three years, NCAA Division II member
institutions are required to perform an expenses and revenues review related to its intercollegiate
athletics programs which is subject to the agreed-upon procedures. The expenses and revenues
review shall be performed by a qualified independent accountant and must be presented to the
president or chancellor.

In addition, per the NCAA Constitution Article 2(D)(1)(c), institutions are required to submit
financial data annually to the NCAA via the Membership Financial Reporting System. The data
collected will be stored within the Institutional Performance Program (IPP) for comparison and
reporting purposes.

Division III:
Division III members are provided with two methods in which to meet the constitutional
requirement of Article 2(D)(1)(c).

   1. Division III institutions can submit financial data annually to the NCAA via the
      Membership Financial Reporting System for Institutional Performance Program (IPP)
      purposes. Per the regular financial audit requirements, revenue and expenditures
      associated with outside groups or individuals shall be included in this audit.

   2. Division III institutions can submit the EADA Certificate of Completion to the NCAA
      via the Membership Financial Reporting System.

The NCAA may use the data collected through the Membership Financial Reporting System to
support its research efforts. The NCAA will maintain its policy of not releasing information
submitted by individual institutions; only the aggregate results by NCAA division will be made
available to membership.


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BACKGROUND INFORMATION
1.    NCAA LEGISLATION
      The NCAA agreed-upon procedure reporting legislation for each of the three membership
      divisions are contained in each division’s manual:
      a.      Division I
              Bylaw 20.2.4.17. “An active member institution shall submit financial data
              detailing operating revenues, expenses and capital related to its intercollegiate
              athletics program to the NCAA on an annual basis in accordance with the
              financial reporting policies and procedures. The required data shall include, but
              is not limited to, the following:

                 (a) All expenses and revenues for or on behalf of an institution's intercollegiate
                     athletics program, including those by any affiliated or outside organization,
                     agency or group of individuals;

                 (b) Salary and benefits data for all athletics positions. The data shall include
                     base salary, bonuses, endorsements, media fees, camp or clinic income,
                     deferred income and other income contractually guaranteed by the
                     institution;

                 (c) Capital expenditures (to be reported in aggregate for athletics facilities),
                     including capitalized additions and deletions to facilities during the
                     reporting period, total estimated book value of athletically related plant
                     and equipment net of depreciation, total annual debt service on athletics
                     and university facilities and total debt outstanding on athletics and
                     university facilities;

                 (d) Value of endowments at fiscal year-end that are dedicated to the sole
                     support of athletics;

                 (e) Value of all pledges at fiscal year-end that support athletics; and

                 (f) The athletics department fiscal year-end fund balance.”

             Bylaw 20.2.4.17.1. “The report shall be subject to annual agreed-on verification
             procedures approved by the membership (in addition to any regular financial
             reporting policies and procedures of the institution) and conducted by a qualified
             independent accountant who is not a staff member of the institution and who is
             selected by the institution's chancellor or president or by an institutional
             administrator from outside the athletics department designated by the chancellor or
             president. The independent accountant shall verify the accuracy and completeness
             of the data prior to submission to the institution's chancellor or president and the
             NCAA. The institution's chancellor or president shall certify the financial report
             prior to submission to the NCAA. "



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      b.     Division II
             Bylaw 7.3.1.5.22.1. “At least once every three years, all expenses and revenues for
             or on behalf of a Division II member institution's intercollegiate athletics programs,
             including those by any affiliated or outside organization, agency or group of
             individuals (two or more), shall be subject to agreed-on procedures approved by the
             Division II membership (in addition to any regular financial reporting policies and
             procedures of the institution) conducted for the institution by a qualified independent
             accountant who is not a staff member of the institution and who is selected either by
             the institution's president or chancellor or by an institutional administrator from
             outside the athletics department designated by the president or chancellor. If, within
             the last three years, the institution has conducted an overall institutional audit that
             includes a financial audit of all athletics department funds using the agreed upon
             procedures, then the institution is not required to perform a separate financial audit
             of all athletics department expenditures. An institution is not required to use the
             agreed upon procedures in years outside the once in every three-year cycle.”

             Bylaw 7.3.1.5.22.1.1. “The report created pursuant to the approved procedures shall
             be completed and presented to the president or chancellor on or before January 15
             after the end of the institution's fiscal year.”

             Effective August 1, 2025. Bylaw 7.3.1.5.23 “Financial Data Requirement, an
             active member institution that fails to submit its financial data per NCAA Article
             2-D-1-c by the applicable deadline, in a format approved and administered by the
             Membership Committee, shall forfeit Division II Institutional Equal Distribution
             Funds for the following academic year.”

             Effective August 1, 2025. Bylaw 7.3.1.5.23.1 “The Membership Committee may
             waive the requirement of Bylaw 7.3.1.5.23 if it deems that unusual circumstances
             warrant such action. The decision of the Membership Committee shall be
             considered final.”


      c.     Division III
             Bylaw 20.14.5.3. “All expenditures and revenue for or on behalf of a Division III
             member institution's intercollegiate athletics programs shall be subject to the
             institution's regular financial audit. In particular, additional revenue and
             expenditures associated with outside groups or individuals shall be included in this
             audit.”

2.    INTERPRETATIONS
      a.   Objectives of Agreed-Upon Procedures
           The institution’s agreed-upon procedures report shall be presented to the president
           or chancellor by the independent accountant. The report’s primary purpose is to
           ensure that the president or chancellor is made aware of all financial activity
           (both internal and external) for athletics purposes and to assist the institution in
           exercising control over financial activity made by or on behalf of the intercollegiate

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      athletics program. The report should not be filed with the NCAA national office.
      However, should information supplied as a result of this initiative raise questions
      or prompt concerns about the proper application of NCAA legislation, an
      institution’s president or chancellor may wish to contact the NCAA administrative
      services staff for assistance.

      The report’s secondary purpose is to ensure the accuracy of the data the institution
      is submitting for sports sponsorship, Pell grants and grants-in-aid, which determines
      the calculation of several Division I NCAA Revenue Distributions.

      The agreed-upon procedures scope of work shall include the reporting of revenue
      and expenses required in NCAA financial reporting information. The definitions
      used in the agreed-upon procedures provide a consistent means of reporting
      intercollegiate athletics finances and will provide the presidents or chancellors and
      other campus decision makers of our member institutions with empirical data to
      assist them in making their formal decisions.

      Data available for the agreed-upon procedures may vary among institutions as a
      result of differences in athletics programs’ organizational structure, financial
      resources and accounting and budgetary methods. Information that may prove
      particularly useful (depending on circumstances noted above) to institutions in
      evaluating the level of institutional control includes:

      (1)     A comparison of actual revenues and expenses related to the intercollegiate
              athletics program as defined on pages 17-26 (from both internal and
              external sources) to amounts budgeted;

      (2)     The nature of institutional internal controls that affect operations of
              the intercollegiate athletics program, and

      (3)     The relationship of expenses for or on behalf of intercollegiate athletics
              by affiliated and outside organizations (e.g., booster groups, alumni
              organizations, independent or affiliated foundations, supporting
              organizations) to institutional expenses for similar purposes and the nature
              of internal controls in place to monitor the financial activities of such
              affiliated and outside organizations.

                    1. Affiliated Organization: An organization that, directly or
                       indirectly through one or more intermediaries, controls, is
                       controlled by, or is under common control with an organization
                       (in this case the institution and/or intercollegiate athletics).

                    2. Supporting Organization: An organization that provides
                       supporting activities, such as management and general activities,
                       fundraising activities or membership development activities, to a
                       not-for-profit organization (in this case a not-for-profit institution

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                        and/or intercollegiate athletics).

      The financial information, the existence and appropriateness of the institution’s
      internal controls are the responsibility of the institution. Independent accountants,
      through the application of agreed-upon procedures, should not provide an opinion
      or assurance on the reliability of financial information generated by the institution,
      the existence and functioning of appropriate internal controls. The agreed-upon
      procedures report presents the findings of the agreed-upon procedures performed
      by the independent accountant. An understanding of this distinction in role and
      responsibility is crucial to the president or chancellor’s effective use of the
      information provided as part of the agreed-upon procedures performed.

      The NCAA has developed the agreed-upon procedures set forth in this document
      with the assistance of the National Association of College and University Business
      Officers (NACUBO) and Association of College and University Auditors (ACUA).
      These procedures seek to provide flexibility in complying with the provision of
      Bylaw 20.2.4.17. At a minimum, the institution’s president or chancellor should
      seek information considered consistent with the legislation’s purpose and the
      requirements of professional auditing literature, recognizing reasonable cost and
      benefit considerations.

      An institution’s president or chancellor also may request additional information
      from the institution’s athletics department, affiliates and outside groups, as well as
      the performance of additional agreed-upon procedures in agreement with the
      independent accountants. Each institution’s president or chancellor should consider
      carefully what approach best serves the institution’s needs in evaluating
      institutional control. The president or chancellor may include a formal assessment
      of internal controls over intercollegiate athletics programs financial processes.

      The independent accountants will not review or include in their reports information
      concerning the institution’s compliance with NCAA legislation. Responsibility
      for assuring compliance with NCAA legislation is the ultimate responsibility of
      the institution’s president or chancellor, and the information provided as part of the
      agreed-upon procedures report is intended to assist president or chancellors in their
      efforts to assure institutional compliance.

      While the detection of improper application of NCAA legislation is not the primary
      function of these procedures, the independent accountants should be alert
      nonetheless for situations or transactions that may indicate the existence of such
      conditions. If, during the course of executing the procedures, the independent
      accountant becomes aware of acts that may indicate a violation of NCAA
      legislation, the independent accountant shall immediately report the violation to the
      institution’s president or chancellor.

 b.   Organization of Intercollegiate Athletics Programs
      Intercollegiate athletics programs vary significantly in scope and complexity

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      among institutions. Financial reporting procedures and controls also vary. For
      example, some institutions clearly have segregated intercollegiate athletics from
      other institutional athletics programs and physical education while at other
      institutions, these activities are integrated with the institution’s administrative
      structure and accounting records.

      Likewise, the extent to which institutions receive cash or in-kind contributions
      from affiliated and outside organizations and the method by which such
      contributions from affiliated and outside organizations are included in the
      institution’s athletics department’s financial statements vary considerably.
      Institutional accounting practices also differ in areas such as indirect facilities and
      administrative support, grants-in-aid costs and student-activity fees. Institutions
      and their independent accountants should be aware of these differences among
      programs and recognize that NCAA legislation does not mandate particular
      organizational structure or specific budgetary approaches.

      For purposes of these procedures, as applicable, the independent accountant (or, in
      Division III, the institution’s accountant) shall include certain financial information
      of the following organizations, agencies and groups within the agreed-upon
      procedures:

      (1)     Booster organizations established by or on behalf of an intercollegiate
              athletics program. For the purposes of this legislation, a booster group
              may be defined as any organization that has as its principal, or one of
              their principal purposes, the generating of moneys, goods or services for
              or on behalf of an intercollegiate athletics program, or the promotion of
              said program through other means;

      (2)     Independent or affiliated foundations or other organizations that have as a
              principal, or one of their principal purposes, the generating or maintaining
              of grants-in-aid or scholarship funds, gifts, endowments, or other moneys,
              goods or services to be used primarily by the intercollegiate athletics
              program, and

      (3)     Alumni organizations that have as a principal, or one of their principal
              purposes, the generating of moneys, goods or services for or on behalf of
              an intercollegiate athletics program and that contribute moneys, goods or
              services directly to an intercollegiate athletics program, booster group, or
              independent or affiliated foundation as previously noted.

 c.   The Independent Accountant
      In Divisions I and II, the agreed-upon procedures report is required to be conducted
      by an independent accountant who is not an institutional staff member. This
      requirement is not intended to question the ability or integrity of institutional
      accountants or auditors, but rather to emphasize that this is a separate procedure for
      specific NCAA compliance purposes and to further protect the institution from

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      inferences that the agreed-upon procedures were not objective. In Division III,
      an independent accountant is not required.

      For the purposes of this legislation in Divisions I and II, an individual employed
      by the state (or by a state university system) to perform audits for that state’s
      colleges and universities (or for the colleges and universities within a state
      university system) is considered to be an independent accountant, provided the
      individual is not a regular employee of the institution. The procedures undertaken
      by state auditors in the performance of their duties should meet the minimum
      standards set forth in these agreed-upon procedures applicable to the revenues
      and expenses of all independent booster or support organizations. If state auditors
      are unable to perform those procedures, the president or chancellor is required to
      engage an independent accountant to satisfy these procedures. The approach
      required by the independent accountant to satisfy these procedures will depend
      on the scope of the state auditors work and the ability and willingness of the
      independent accountant to rely on the work performed by the state auditors.

      Work performed by internal auditors at Division I and II institutions, even though
      their responsibility includes an annual financial audit for the entire institution
      (including intercollegiate athletics and institution-controlled affiliated or outside
      organizations), would not meet the requirements of this legislation. Internal
      auditors may prepare schedules and accumulate data or provide other information
      for the practitioner’s use in performing the agreed-upon procedures. Accordingly,
      independent accountants may use work performed by internal auditors. However,
      it would be inappropriate for the independent accountant to agree to merely read
      the internal auditors’ report solely to describe or repeat the findings, take
      responsibility for all or a portion of any procedures performed by the internal
      auditors by reporting those findings as the practitioner’s own, or report in any
      manner that implies shared responsibility for the procedures with the internal
      auditors.




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AGREED-UPON PROCEDURES
Depending on the institution’s existing level of agreed-upon procedures and the organizational
structure of the institution’s intercollegiate athletics programs and related affiliated or outside
organizations, there are several approaches that the independent accountant may use to comply
with the agreed-upon procedure requirements for Division I and II institutions. [Note: In Division
III, the completion of the institution’s regular financial audit shall satisfy the requirements of
Bylaw 20.14.5.3, provided that all expenditures and revenue for or on behalf of a Division III
member institution's intercollegiate athletics programs shall be subject to the institution's regular
financial audit. In particular, additional revenue and expenditures associated with outside groups
or individuals shall be included in this audit.]

Work performed by an independent auditor as part of a Division I or II institution-wide financial
audit would comply with the terms of this legislation if the work performed by the independent
auditor relative to the institution’s department of intercollegiate athletics conforms to the
requirements set forth in the section entitled “Minimum Agreed-Upon Procedures.” In using this
approach, the independent auditor shall also conduct certain minimum agreed-upon procedures
related to the revenues and expenses of affiliated and outside organizations that are not under the
accounting control of the institution. See the “Minimum Agreed-Upon Procedures for Affiliated
and Outside Organizations” section for details. Affiliated and outside organizations (e.g., booster
clubs, affiliated foundations and alumni groups) are considered to be under the accounting control
of the institution when all activities of the organization (including revenues and expenses) are
recorded on the books and records of the institution and are subject to the internal control structure.
Alternatively, where an institution-wide agreed-upon procedure has been performed, the president
or chancellor may elect to comply with these agreed-upon procedures by engaging the
independent auditor to perform separate agreed-upon procedures as discussed in the next
paragraph.

In the event that an institution-wide independent audit has not been conducted, or the athletics
department functions as a separate legal or accounting entity (e.g., a separately incorporated
athletics foundation), a Division I or II institution would comply with the terms of this legislation
by engaging an independent accountant to perform these agreed-upon procedures on the
statement. To the extent that activities of affiliated and outside organizations are under the
accounting control of the institution, those revenues and expenses shall be included in the
statement that the independent accountant applies these agreed-upon procedures against.
Otherwise, activities of affiliated and outside organizations shall be subject to minimum agreed-
upon procedures as set forth in the section entitled “Minimum Agreed-Upon Procedures for
Affiliated and Outside Organizations.”




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This section describes the minimum level of procedures considered to be necessary to
achieve the objectives of this legislation.

1.    Athletics Department Statement of Revenues and Expenses
      To provide adequate information for the independent accountant to execute these agreed-
      upon procedures, the institution must prepare the statement. The statement reports the
      revenues and expenses of the intercollegiate athletics programs as recorded on the general
      ledger of the institution. Please note that expenses on behalf of an institution’s athletics
      programs by affiliated and outside organizations not under the accounting control of the
      institution shall be included in the statement and subject to the agreed-upon procedures set
      forth in the section entitled “Minimum Agreed-Upon Procedures for Affiliated and
      Outside Organizations.”

      Factors that influence the classification of revenues, expenses and major programs in the
      statement include:
       a. The internal account structure of the reporting institution’s intercollegiate athletics
           program;
       b. The institution’s usual treatment of indirect facilities and administrative support
           related to athletics, and
       c. The degree to which institutional funds or state appropriations are earmarked or
           budgeted by the institution for athletics and generally considered to be a part of
           the department’s operating revenue. More detailed discussion of revenue and
           expenditure classifications is set forth separately in Appendices A thru C.

      The institution shall prepare the statement using the basic accounting and revenue
      recognition principles set forth in the American Institute of Certified Public Accountants
      (AICPA) Audit and Accounting Guide entitled “Not-for-Profit Organizations” (the “NFP
      Audit Guide”) and in the NACUBO publication entitled “College and University Business
      Administration.” Please note that the statement presents an excess (deficiency) of
      revenues over (under) expenses but does not present any fund or net asset balances. In
      addition, changes in loan, endowment or plant funds related to intercollegiate athletics
      shall not be included in the statement. Significant additions to restricted funds related to
      intercollegiate athletics, as well as significant changes to endowment and plant funds, shall
      be disclosed separately in the notes to the statement.

      After the institution has prepared the statement, the independent accountant shall meet with
      the institution’s president or chancellor (or his or her designees) to identify areas of
      significant interest and specific agreed-upon procedures related to both internal controls
      and other specified areas.

2.    Minimum Compliance Agreed-Upon Procedures
      The institution, through discussions with the independent accountant, shall identify aspects
      of the institution’s internal control structure unique to the intercollegiate athletics
      department. Consideration should be given to departmental organization, control
      consciousness of staff, use of internal auditors in the department, competency of
      personnel, adequate safeguarding and control of records and assets, controls over

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      interaction with the information technology department, and other relevant matters.

      The president or chancellor may include a formal assessment of internal controls over
      intercollegiate athletics programs financial processes. The independent accountant may
      test the internal control procedures unique to intercollegiate athletics and internal control
      procedures for the athletics department. In those situations where the institution’s
      independent accountant performed tests of controls in connection with the audit of the
      institution’s financial statements, the independent accountant may expand the scope of
      these tests of controls to specifically include transactions from the intercollegiate athletics
      department.

      Regardless of the situation, the independent accountant shall test specific elements of the
      control environment and accounting systems that are (1) are unique to intercollegiate
      athletics and (2) have not been addressed in connection with the audit of the
      institution’s financial statements (e.g., the system of accounting for revenues from ticket
      sales).

      Finally, the independent accountant shall perform agreed-upon procedures related to the
      institution’s procedures for gathering information on the nature and extent of affiliated
      and outside organization activity for or on behalf of the institution’s intercollegiate
      athletics program. The institution must provide the independent accountant with the
      institution’s procedures for gathering information on the nature and extent of affiliated
      and outside organization activity for on behalf of the institution’s intercollegiate
      athletics program. The independent accountants will then test those procedures. After
      completing these procedures, independent accountants shall report their findings to the
      president or chancellor in a format similar to that outlined in Appendix E.

3.    Minimum Agreed-Upon Procedures
      To identify unusual items, the NCAA has developed minimum agreed-upon procedures
      for independent accountants to use regarding the accuracy of revenues and expenses of
      intercollegiate athletics programs. For a complete listing of the minimum agreed-upon
      procedures, see the sections entitled “Minimum Agreed-Upon Procedures Program for
      Revenues” and the “Minimum Agreed-Upon Procedures Program for Expenses” in
      Appendix D to be performed by the independent accountant to comply with this
      legislation.

      The minimum agreed-upon procedures are intended to indicate the nature of the
      procedures to be performed on the institution’s financial systems and records. The
      institution and their independent accountants should conform to such procedures as
      appropriate for the institution’s systems and records, as well as to professional practice
      and reporting standards.

      Upon approval of the institution, the minimum agreed-upon procedures performed may be
      tailored by the independent accountant based upon the specific areas of significance to the
      institution. The institution should keep the objective of the minimum agreed-upon
      procedures in mind when determining the sufficiency of the procedures to be performed.

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 The institution’s president or chancellor may engage the independent accountant to
 perform supplemental agreed-upon procedures. The independent accountant shall
 document the scope of the supplemental agreed-upon procedures requested by the president
 or chancellor in an engagement letter signed in advance by the institution’s president or
 chancellor. The institution, together with the independent accountant, shall determine the
 extent of the supplemental agreed-upon procedures to be performed.

      a. Institutional Representations
        In an engagement to apply agreed-upon procedures to certain financial and other
        information of the institution, the independent accountant shall obtain written
        representations from the institution’s management. These representations may be
        tailored to cover specific assertions and matters unique to the intercollegiate
        athletics department (e.g., completeness of the schedule of intercollegiate athletics
        activities, institutional compliance with NCAA legislation and a listing of all
        known affiliated and outside organizations reported to the independent
        accountant).

      b. Report on Agreed-Upon Procedures
          i. Application of Agreed-Upon Procedures
              The independent accountants’ report on agreed-upon procedures applied to
              the institution should be in the form of procedures and findings. Among
              other things, the report should have a title that includes the word
              “independent” and identify the specified parties, the subject matter, and the
              procedures performed (and findings). See Appendix E for a listing of the
              required elements for a report on agreed-upon procedures. Examples of
              reports concerning agreed-upon procedures applied to institution’s
              statement and affiliated and outside organizations’ records are included as
              Appendix E.

          ii. Presentation of the Statement of Revenues and Expenses
               The basis of presentation of the statement will vary among institutions. As
               a result, the institution’s statement may be presented in conformity with
               accounting principles generally accepted in the United States of America
               (GAAP) or with a comprehensive basis of accounting other than GAAP.

          iii. Notes and Disclosures
                (a) Each individual contribution of moneys, goods or services received
                    directly by an intercollegiate athletics program from any affiliated or
                    outside supporting organization, agency or individuals (e.g.,
                    contributions by corporate sponsors) that constitutes 10 percent or
                    more of all contributions received for intercollegiate athletics during
                    the reporting period shall be disclosed in the notes to the statement of
                    athletics department revenues and expenses (the “statement”) and
                    included in the agreed-upon procedures report. Disclosure of the
                    source of funds, goods and services, as well as the value associated

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                these items, shall also be made within the notes to the statement. In
                addition, as part of the minimum agreed-upon procedures, the
                independent accountant shall obtain and review documentation for
                each such contribution.

             (b) A description of the institution’s policies and procedures for acquiring,
                 approving, depreciating, and disposing of intercollegiate athletics-
                 related assets, shall be included in the notes to the statement.

             (c) The independent accountant shall also obtain repayment schedules for
                 all outstanding intercollegiate athletics debt maintained by the
                 institution during the reporting period. At a minimum, the independent
                 accountant shall recalculate annual maturities (consisting of principal
                 and interest) provided in the schedules obtained. The independent
                 accountant shall then agree the total annual maturities to
                 documentation and the institution’s general ledger, as applicable. The
                 repayment schedule(s) shall be included in the notes to the statement.




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MINIMUM AGREED-UPON PROCEDURES FOR AFFILIATED AND
OUTSIDE ORGANIZATIONS
Following are minimum agreed-upon procedures that independent accountants and institutions
shall use in applying agreed-upon procedures related to expenses for or on behalf of intercollegiate
athletics programs by affiliated and outside organizations not under the institution’s accounting
control. The results of these procedures may be reported and included within the agreed-upon
procedures report on the institution. See Appendix E.

1.     The institution shall identify all intercollegiate athletics-related affiliated and outside
       organizations and obtain those organizations’ statements for the reporting period. Once
       the institution has made these statements available, the independent accountant shall agree
       the amounts reported in the statement to the organization’s general ledger or, alternatively,
       confirm revenues and expenses directly with a responsible official of the organization.
       In addition, the institution shall prepare a summary of revenues and expenses for or on
       behalf of intercollegiate athletics programs affiliated and outside organizations to be
       included with the agreed-upon procedures report.

2.     The independent accountant shall obtain and review the audited financial statements of
       the organization and any additional reports regarding internal control matters if the
       organization is audited independent of the agreed-upon procedures required by NCAA
       legislation. The institution’s independent accountant shall also inquire of institutional and
       organizational management as to corrective action taken in response to comments
       concerning internal control structure (if any).

       The institution may tailor these procedures based upon the areas of significance to the
       institution. The institution should keep the objective of the agreed-upon procedures in
       mind when determining the sufficiency of the procedures to be performed.

       a.      Supplemental Procedures for Affiliated and Outside Organizations

               (1)     Compare and agree a sample of operating revenue categories reported in
                       the organization’s statement during the reporting period to supporting
                       schedules provided by the organization;

               (2)     Compare and agree a sample of operating revenue receipts obtained from
                       the above operating revenue schedule to adequate supporting
                       documentation;

               (3)     Compare and agree each operating expense category reported in the
                       organization’s statement during the reporting period to supporting
                       schedules provided by the organization;

               (4)     Compare and agree a sample of operating expenses obtained from the
                       above operating expense supporting schedules to adequate supporting
                       documentation;
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      (5)   Directly confirm cash balances recorded at the end of the reporting period
            by the organization and review the related year-end bank reconciliation(s);

      (6)   Obtain and inspect minutes of the organizations’ governing bodies during
            the reporting period;

      (7)   Select a sample of financial transactions discussed in the minutes and
            compare and agree each selection to the organizations’ accounting records,
            as applicable, and

      (8)   Obtain documentation of the internal controls in place surrounding
            revenues and expenses related to the organization.




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    APPENDIX A | 2024 Revenue Categories
    Sources of revenue for the athletics program will vary among institutions; however, typical sources of
    intercollegiate athletics revenues, each followed by a comprehensive definition, are outlined below:

ID Category                Definition
1 Ticket Sales             Input revenue received for sales of admissions to athletic events. This may include:
                              x Public and faculty sales.
                              x Student sales.
                              x Shipping and Handling fees.
                              x Registration fees.

                           Please report amounts paid in excess of ticket’s face value to obtain preferential
                           seating or priority in Category 8 (Contributions).
2    Direct State or       Input state, municipal, federal and other appropriations made in support of athletics.
     Other Government
     Support          This amount includes funding specifically earmarked for the athletics department
                      by government agencies for which the institution cannot reallocate.

                           This amount also includes state funded employee benefits. Corresponding
                           expenses should be reported in Categories 22 and 24.

                           Any state or other government support appropriated to the university, for which the
                           university determines the dollar allocation to the athletics department shall be
                           reported in Category 4.

3    Student Fees          Input student fees assessed and restricted for support of intercollegiate athletics.


4    Direct Institutional Input direct funds provided by the institution to athletics for the operations of
     Support              intercollegiate athletics including:
                             x Unrestricted funds allocated to the athletics department by the university
                                 (e.g. state funds, tuition, tuition discounts/waivers, transfers).
                             x Federal work study support for student workers employed by athletics.
                             x Endowment unrestricted income, spending policy distributions and other
                                 investment income distributed to athletics in the reporting year to support
                                 athletic operations. Athletics restricted endowment income for athletics should
                                 be reported in Category 17.




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ID Category           Definition
5 Less – Transfers to If the institution allocated funds to athletics as represented in Categories 3 and4, while
   Institution        the athletics department provided a transfer of funds back to the institution in the
                      reporting year, then report the transfer amount as a negative in this category. The
                      transfer amount may not exceed the total of Categories 3 and 4. Transfers back to the
                      institution in excess of Categories 3 and 4 should be reported in Category 50.

6   Indirect             Input value of costs covered, and services provided by the institution to athletics but
    Institutional        not charged to athletics including:
    Support                 x Administrative services provided by the university to athletics, but not
                               charged such as HR, Accounting, and IT.
                            x Facilities maintenance.
                            x Security.
                            x Risk Management.
                            x Utilities.

                         Do not include depreciation.

                         Note: This category should equal Category 36. If the institution is paying for debt
                         service, leases, or rental fees for athletic facilities, but not charging to athletics, include
                         those amounts in Category 6A.
6A Indirect              Input debt service payments (principal and interest, including internal loan programs),
   Institutional         leases and rental fees for athletics facilities for the reporting year provided by the
   Support – Athletic    institution to athletics, but not charged to athletics.
   Facilities Debt
   Service, Lease and    Do not report depreciation.
   Rental Fees
                         Note: If the institution is paying for all athletic facilities debt service, lease and rental
                         fees and not charging to athletics, this category will equal Category 34. If athletics or
                         other entities are also paying these expenses or the institution is charging directly to
                         athletics, this category will not equal Category 34.
7   Guarantees           Input revenue received from participation in away games. This includes payments
                         received due to game cancellations.
8   Contributions        Input contributions provided and used by athletics in the reporting year including:
                            x Amounts received from individuals, corporations, associations, foundations,
                                clubs, or other organizations used for the operations of the athletics program.
                            x Funds contributed by outside contributors for the payment of debt service, lease
                                payments or rental fee expenses for athletic facilities in the reporting year.
                            x Amounts received above face value for tickets used within the reporting year.

                         Contributions shall include cash and marketable securities.

                         Do not report:
                           x Pledges until funds are provided to athletics for use.
                           x Contributions to be used in future reporting years.


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ID   Category         Definition
9    In-Kind          Input market value of in-kind contributions in the reporting year including:
                        x Dealer-provided automobiles.
                        x Equipment.
                        x Services.
                        x Nutritional product.

                      All in-kind contributions that are made as a result of a licensing or sponsorship
                      agreement should be reported in Category 15.

                      Please offset in-kind values in the appropriate expense category.

10   Compensation     Input all benefits provided by a third party and contractually guaranteed by the
     and              institution, but not included on the institution’s W-2. These may include:
     Benefits            x Car stipend.
     provided by a       x Country club membership.
     third party         x Allowances for clothing, housing, and entertainment.
                         x Speaking fees.
                         x Camps compensation.
                         x Media income.
                         x Shoe and apparel income.

                      The total of this category should equal expense Categories 23 and 25 combined.
11   Media Rights     Input all revenue received for radio, television, internet, digital and e-commerce rights,
                      including the portion of conference distributions related to media rights, if applicable.

                      Consult with your conference offices if you do not have the media rights distribution
                      amount available.
12   NCAA             Input revenues received from the NCAA which could include revenue distributions,
     Distributions    grants, NCAA championships travel reimbursements and payments received from the
                      NCAA for hosting a championship.

                      In some cases, NCAA distributions may be provided by the conference office. Consult
                      with the conference office for the amount received to include in this category.

13   Conference       Input all revenues received by conference distribution, excluding portions of distribution
     Distributions    relating to media rights, reported in Category 11, or NCAA distributions, reported in
     (Non             Category 12.
     Media and Non-
     Football Bowl)   Note: Conference distributions of revenue generated by a post-season football bowl to
                      conference members are to be recorded in Category 13A. Distributions for
                      reimbursement of post-season football bowl expenses are to be recorded in Category 19.




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ID Category            Definition
13A Conference         Input conference distributions of revenue generated by a post-season football bowl to
    Distributions of   conference members.
    Football Bowl
    Generated          Note: Distributions for reimbursement of post-season football bowl expenses should be
    Revenue            included in Category 19. Portions of the distribution related to media rights are
                       reported in Category 11, NCAA distributions are reported in Category 12 and all other
                       conference distributions are reported in Category 13.
14   Program,         Input revenues from:
     Novelty,            x Game Programs.
     Parking and         x Novelties.
     Concession Sales    x Food and Concessions.
                         x   Parking.

                       Advertising should be included in Category 15.
15   Royalties,        Input revenues from:
     Licensing,           x Sponsorships.
     Advertisement        x Licensing Agreements.
     and                  x Advertisement.
     Sponsorships         x Royalties.
                          x In-kind products and services as part of sponsorship agreement.

                       An allocation may be necessary to distinguish revenues generated by athletics
                       versus the university if payments are combined.

16   Sports Camp       Input amounts received by the athletics department for sports camps and clinics.
     Revenues

17   Athletics         Please report spending policy distributions from athletics restricted endowments and
     Restricted        investment income used for athletics operations in the reporting year.
     Endowment
     and               This category only includes restricted investment and endowment income used for the
     Investments       operations of intercollegiate athletics; institutional allocations of income from
     Income            unrestricted endowments qualify as “Direct Institutional Support” and should be
                       reported in Category 4.

                       Note: Please make sure amounts reported are only up to the amount of expenses
                       covered by the endowment for the reporting year.

18   Other Operating   Input any operating revenues received by athletics in the report year which cannot be
     Revenue           classified into one of the stated categories.

                       If the figure is greater than 10% of total revenues, please report the top three activities
                       included in this category in the comments section.



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ID   Category          Definition
19   Football Bowl     Input all amounts received related to participation in a post-season football bowl game,
     Revenues          including:
                          x Expense reimbursements.
                          x Ticket sales.

     Total Operating   Total of Categories 1 through 19.
     Revenues




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  APPENDIX B | 2024 Expense Categories

  Expenses for the athletics program will vary among institutions; however, typical sources of
  intercollegiate athletics expenses, each followed by a comprehensive definition, are outlined below:

ID Category            Definition
20 Athletic Student    Input the total dollar amount of athletic student aid for the reporting year including:
   Aid                    x Summer school.
                          x Tuition discounts and waivers (unless it is a discount or waiver available to the
                              general student body).
                          x Aid given to student-athletes who are inactive (medical reasons) or no longer
                              eligible (exhausted eligibility).
                          x Other expenses related to attendance (e.g., stipend).

                        Note: Division I Grants-in-aid equivalencies are calculated by using the revenue
                        distribution equivalencies by sport and in aggregate. (Athletic grant amount divided by
                        the full grant amount).
                        Other expenses related to attendance (also known as cost of attendance) should not be
                        included in the grants-in-aid revenue distribution equivalencies. Only tuition, fees,
                        living expenses, and course related books are countable for grants-in-aid revenue
                        distribution per Bylaw 20.02.10.

                        Athletics aid awarded to non-athletes (student- managers, graduate assistants, trainers)
                        should be reported as Expenses Not Related to Specific Teams. It is permissible to
                        report only dollars in the Expenses Not Related to Specific Teams row as long as you
                        have reported non-zero entries for Equivalencies, Number of Students, and Dollars (all
                        3 required for at least one sport).

                        Note: Pell grants are provided by the government, not the institution or athletics
                        department, and therefore should be excluded from reporting in this category.

                        Note: This information can be managed within the NCAA’s Compliance Assistant
                        (CA) software. The equivalencies entered into CA will automatically populate to the
                        athletic student aid section within the NCAA Financial Reporting System when the
                        CA import feature is selected.


21 Guarantees          Input amounts paid to visiting participating institutions, including per diems and/or
                       travel and meal expenses. This includes payments made due to game cancellations.




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 ID Category           Definition
22 Coaching            Input compensation, bonuses and benefits paid to all coaches reportable on the
    Salaries,          university or related entities W-2 and 1099 forms, as well as non-taxable benefits
    Benefits and       (1098T), inclusive of:
    Bonuses paid          x Gross wages and bonuses.
    by the                x Taxable and non-taxable benefits include: allowances, speaking fees,
    University and            retirement, stipends, memberships, media income, tuition
    Related                   reimbursement/exemptions (for self or a dependent) and earned deferred
    Entities                  compensation, including those funded by the state.

                       Place any severance payments in Category 26.

                       Note: Bonuses related to participation in a post-season football bowl game should be
                       included in Category 41A.
23   Coaching          Input compensation, bonuses and benefits paid to all coaches by a third party and
     Salaries,         contractually guaranteed by the institution, but not included on the institutions W-2,
     Benefits and      as well as any non-taxable benefits, including:
     Bonuses paid         x Car stipend.
     by a Third           x Country club membership.
     Party                x Allowances for clothing, housing, and entertainment.
                          x Speaking fees.
                          x Camps compensation.
                          x Media income.
                          x Shoe and apparel income.

                       Expense Category 23 and 25 should equal Category 10.

                       Note: Bonuses related to participation in a post-season football bowl game should be
                       included in Category 41A.

24   Support Staff/    Input compensation, bonuses and benefits paid to all administrative and support staff
     Administrative    reportable on the university or related entities (e.g., foundations or booster clubs)
     Compensation,     W-2 and 1099 forms, as well as any non-taxable benefits, inclusive of:
     Benefits and         x Gross wages and bonuses.
     Bonuses paid         x Benefits including allowances, speaking fees, retirement, stipends,
     by the                   memberships, media income, tuition reimbursement/exemptions and earned
     University and           deferred compensation, including those funded by the state.
     Related
     Entities          Staff members responsible for the gender-specific athletics department, but not a
                       specific sport (e.g., athletic director, assistant athletic director, compliance
                       coordinator), will have their compensation figures reported as Expenses Not Related
                       to Specific Teams fields. Athletics department staff members who assist both men’s
                       and women’s teams (e.g., sports information director, academic advisor) will be
                       reported as Not Allocated by Gender column.



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ID Category            Definition
25 Support Staff/      Input compensation, bonuses and benefits paid to administrative and support staff by a
   Administrative      third party and contractually guaranteed by the institution, but not included on the
   Compensation,       institutions W-2, as well as non-taxable benefits, including:
   Benefits and           x Car stipend.
   Bonuses paid by        x Country club membership.
   Third Party            x Allowances for clothing, housing, and entertainment.
                          x Speaking fees.
                          x Camps compensation.
                          x Media income.
                          x Shoe and apparel income.

                       Expense Category 23 and 25 should equal Category 10.

26 Severance           Input severance payments and applicable benefits recognized for past coaching and
   Payments            administrative personnel.

27 Recruiting          Input transportation, lodging and meals for prospective student-athletes and
                       institutional personnel on official and unofficial visits, telephone call charges,
                       postage, and such. Include value of use of institution’s own vehicles or airplanes as
                       well as in-kind value of loaned or contributed transportation.

28 Team Travel         Input air travel, ground travel, lodging, meals, and incidentals (including housing costs
                       incurred during school break period) for competition related to preseason,
                       regular season and non-football bowl postseason. Amounts incurred for food and
                       lodging for housing the team before a home game also should be included. Use of the
                       institution’s own vehicles or airplanes as well as in-kind value of donor-provided
                       transportation.

                       Note: Expenses related to post-season football bowls should be included in Category
                       41.
29 Sports Equipment,   Input items that are provided to the teams only. Equipment amounts are those
   Uniforms and        expended from current or operating funds. Include value of in-kind equipment
   Supplies            provided.

                       Note: Expenses related to post-season football bowls should be included in
                       Category 41.
30 Game Expenses       Input game-day expenses other than travel which are necessary for intercollegiate
                       athletics competition, including officials, security, event staff, ambulance, etc. Input
                       any payments back to the NCAA for hosting a championship or conference for
                       hosting a tournament.

                       Note: Expenses related to post-season football bowls should be included in
                       Category 41.




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ID   Category             Definition
31   Fund Raising,        Input costs associated with fund raising, marketing and promotion for media
     Marketing            guides, brochures, recruiting publications, etc.
     and
     Promotion
32   Sports Camp          Input all expenses paid by the athletics department, including non-athletics personnel
     Expenses             salaries and benefits, from hosting sports camps and clinics.

                          Note: Athletics personnel salaries and benefits should be reported in Categories 22
                          through 25.
33   Spirit Groups        Include support for spirit groups including bands, cheerleaders, mascots, dancers, etc.

                          Note: Expenses related to post-season football bowls should be included in Category
                          41.
34   Athletic Facilities Input debt service payments (principal and interest, including internal loan programs),
     Debt Service,       leases and rental fees for athletics facilities for the reporting year regardless of entity
     Leases and Rental paying (athletics, institution or other).
     Fees
                         Do not report depreciation.

                          Note: If the institution is paying for all debt service, leases, or rental fees for athletic
                          facilities but not charging to athletics, this category should equal Category 6A. If
                          athletics or other entities are paying these expenses or the institution is charging
                          directly to athletics, this category will not equal Category 6A.
35   Direct Overhead      Input overhead and administrative expenses paid by or charged directly to athletics
     and                  including:
     Administrative           x Administrative/Overhead fees charged by the institution to athletics.
     Expenses                 x Facilities maintenance.
                              x Security.
                              x Risk Management.
                              x Utilities.
                              x Equipment Repair.
                              x Telephone.
                              x Other Administrative Expenses.
36   Indirect              Input overhead and administrative expenses not paid by or charged directly to
     Institutional         athletics including:
     Support                   x Administrative/Overhead fees not charged by the institution to athletics.
                               x Facilities maintenance.
                               x Security.
                               x Risk Management.
                               x Utilities.
                               x Equipment Repair.
                               x Telephone.
                               x Other Administrative Expenses.

                          Do not report depreciation.
                          Note: This category should equal Category 6.


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ID   Category         Definition
37   Medical Expenses Input medical expenses and medical insurance premiums for student-athletes.
     and Insurance

38   Memberships and    Input membership, conference, and association dues.
     Dues
39   Student-Athlete    Include meal allowance and food/snacks provided to student-athletes.
     Meals (non-travel)
                        Note: Meals provided during team travel should be reported in Category 28.
40   Other Operating    Input any operating expenses paid by athletics in the report year which cannot be
     Expenses           classified into one of the stated categories, including:
                            x Non-team travel (conferences, etc.).
                            x Team banquets and awards.

                        If the figure is greater than 10% of total expenses, please report the top three
                        activities included in this category in the comments section.

41   Football Bowl      Input all expenditures related to participation in a post-season football bowl game,
     Expenses           including:
                           x Team travel, lodging and meal expenses.
                           x Bonuses related to football bowl participation.
                           x Spirit groups.
                           x Uniforms.

                         Note: All post-season football bowl related coaching compensation/bonuses should
                         be reported in Category 41A.

41A Football Bowl       Input all coaching bonuses related to participation in a post-season football bowl
    Expenses –          game.
    Coaching
    Compensation/       Note: All other post-season football bowl related expenses should be reported in
    Bonuses             Category 41.
     Total Operating    Total of Categories 20 through 41A.
     Expenses




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  APPENDIX C | Other Reporting Items

  Please input the following other reporting items below, if applicable:

ID Category              Definition
50 Excess Transfers      Input the amount of athletic-related funds for the reporting year that are contributed
   to Institution        back to your institution that were not applicable to be counted or are in excess of those
                         funds allowable to be counted in Category 5.

51 Conference            Input one-time amounts paid by athletics and by the institution above normal operating
   Realignment           expenses for conference realignment (e.g., exit fees, consulting fees, legal fees, signage,
   Expenses              advertising, public relations). Ensure all regular operating expenses such as team travel
                         are reported in the normal expense categories above. Any new revenues should be
                         reported in Category 13. The amount submitted in this category should not be included
                         in operating expense reporting Categories 20 through 41 above.

52 Total Athletics       Input value of athletics debt at the end of the reporting year.
   Related Debt
                         Note: This is the total value of athletics debt. Category 34 above represents payments
                         made against debt held during the current reporting period.

53 Total Institutional Input total value of institutional debt at the end of the reporting year. Ensure athletics
   Debt                related debt is included in the total figure, regardless of the athletics department
                       structure.

54 Value of Athletics Input total fair market value of athletics dedicated endowments at the end of the
   Dedicated          reporting year.
   Endowments

55 Value of              Input total fair market value of institutional endowments at the end of the reporting year.
   Institutional
   Endowments

56 Total Athletics       Input additions only for cost of athletics related capital expenditures for the reporting
   Related Capital       year.
   Expenditures




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APPENDIX D | Minimum NCAA Agreed-Upon Procedures for Revenue,
Expenses and Other Reporting Items
MINIMUM AGREED-UPON PROCEDURES PROGRAM FOR REVENUES
Following is a complete listing of the minimum agreed-upon procedures for revenues, by
category, to be performed to the statement by the independent accountant.

Before the commencement of fieldwork, the independent accountant should ensure that the
amounts reported on the statement agree to the institution's general ledger. For all revenue
categories perform the minimum agreed-upon procedures set forth below.

   x    Compare and agree each operating revenue category reported in the statement during the
        reporting period to supporting schedules provided by the institution. If a specific reporting
        category is less than 4.0% of the total revenues, no procedures are required for that specific
        category.

   x    Compare and agree a sample of operating revenue receipts obtained from the above
        operating revenue supporting schedules to adequate supporting documentation.

   x    Compare each major revenue account over 10% of the total revenues to prior period
        amounts and budget estimates. Obtain and document an explanation of any variations
        greater than 10%. Report the analysis as a supplement to the final Agreed-Upon procedures
        report.

   1. Ticket Sales

        a. Compare tickets sold during the reporting period, complimentary tickets provided
           during the reporting period and unsold tickets to the related revenue reported by the
           Institution in the statement and the related attendance figures and recalculate totals.

   2. Direct State or Other Governmental Support

        a. Compare direct state or other governmental support recorded by the institution during
           the reporting period with state appropriations, institutional authorizations and/or other
           corroborative supporting documentation and recalculate totals.

   3. Student Fees

        a. Compare and agree student fees reported by the institution in the statement for the
           reporting period to student enrollments during the same reporting period and
           recalculate totals.

        b. Obtain documentation of institution’s methodology for allocating student fees to
           intercollegiate athletics programs.

        c. If the athletics department is reporting that an allocation of student fees should be


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      countable as generated revenue, recalculate the totals of their methodology for
      supporting that they are able to count each sport. Tie the calculation to supporting
      documents such as seat manifests, ticket sales reports and student fee totals.


4. Direct Institutional Support

   a. Compare the direct institutional support recorded by the institution during the reporting
      period with the institutional supporting budget transfers documentation and other
      corroborative supporting documentation and recalculate totals.

5. Less – Transfers to Institution

   a. Compare the transfers back to institution with permanent transfers back to institution
      from the athletics department and recalculate totals.

6. Indirect Institutional Support (6 and 6A)

   a. Compare the indirect institutional support recorded by the institution during the
      reporting period with expense payments, cost allocation detail and other corroborative
      supporting documentation and recalculate totals.

7. Guarantees

   a. Select a sample of settlement reports for away games during the reporting period and
      agree each selection to the institution's general ledger and/or the statement and
      recalculate totals.

   b. Select a sample of contractual agreements pertaining to revenues derived from
      guaranteed contests during the reporting period and compare and agree each selection
      to the institution's general ledger and/or the statement and recalculate totals.

8. Contributions

   a. Any contributions of moneys, goods or services received directly by an intercollegiate
      athletics program from any affiliated or outside organization, agency or group of
      individuals (two or more) not included above (e.g., contributions by corporate
      sponsors) that constitutes 10 percent or more in aggregate for the reporting year of all
      contributions received for intercollegiate athletics during the reporting periods shall
      obtain and review supporting documentation for each contribution and recalculate
      totals.

9. In-Kind

   a. Compare the in-kind recorded by the institution during the reporting period with a
      schedule of in-kind donations and recalculate totals.


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10. Compensation and Benefits Provided by a Third-Party

    a. Obtain the summary of revenues from affiliated and outside organizations (the
       "Summary") as of the end of the reporting period from the institution and select a
       sample of funds from the Summary and compare and agree each selection to
       supporting documentation, the institution's general ledger and/or the Summary and
       recalculate totals.

11. Media Rights

    a. Obtain and inspect agreements to understand the institution's total media (broadcast,
       television, radio) rights received by the institution or through their conference offices
       as reported in the statement.

    b. Compare and agree the media rights revenues to a summary statement of all media
       rights identified, if applicable, and the institution's general ledger and recalculate
       totals. Ledger totals may be different for total conference distributions if media rights
       are not broken out separately.

12. NCAA Distributions

    a. Compare the amounts recorded in the revenue and expense categories reporting to
       general ledger detail for NCAA distributions and other corroborative supporting
       documents and recalculate totals.

13. Conference Distributions and Conference Distributions of Football Bowl
    Generated Revenue (13 and 13A)

    a. Obtain and inspect agreements related to the institution's conference distributions and
       participation in revenues from tournaments during the reporting period for relevant
       terms and conditions.

    b. Compare and agree the related revenues to the institution's general ledger, and/or the
       statement and recalculate totals.

14. Program Sales, Concessions, Novelty Sales, and Parking

    a. Compare the amount recorded in the revenue reporting category to a general ledger
       detail of program sales, concessions, novelty sales and parking as well as any other
       corroborative supporting documents and recalculate totals.

15. Royalties, Licensing, Advertisements and Sponsorships

    a. Obtain and inspect agreements related to the institution's participation in revenues
       from royalties, licensing, advertisements, and sponsorships during the reporting
       period for relevant terms and conditions.


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    b. Compare and agree the related revenues to the institution's general ledger, and/or the
       statement and recalculate totals.

16. Sports Camp Revenues

    a. Inspect sports camp contract(s) between the institution and person(s) conducting
       institutional sports-camps or clinics during the reporting period to obtain
       documentation of the institution's methodology for recording revenues from sports-
       camps.

    b. Obtain schedules of camp participants and select a sample of individual camp
       participant cash receipts from the schedule of sports- camp participants and agree each
       selection to the institution's general ledger, and/or the statement and recalculate totals.

17. Athletics Restricted Endowment and Investment Income

    a. Obtain and inspect endowment agreements, if any, for relevant terms and conditions.

    b. Compare and agree the classification and use of endowment and investment income
       reported in the statement during the reporting period to the uses of income defined
       within the related endowment agreement and recalculate totals.

18. Other Operating Revenue

    a. Perform minimum agreed-upon procedures referenced for all revenue categories and
       recalculate totals.

19. Football Bowl Revenues

    a. Obtain and inspect agreements related to the institution's revenues from post-season
       football bowl participation during the reporting period to gain an understanding of the
       relevant terms and conditions.

    b. Compare and agree the related revenues to the institution's general ledger, and/or the
       statement and recalculate totals.




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MINIMUM AGREED-UPON PROCEDURES PROGRAM FOR EXPENSES

Following is a complete listing of the minimum agreed-upon procedures for expenses, by
category, to be performed to the statement by the independent accountant. Before the
commencement of fieldwork, the independent accountant should ensure that the amounts
reported on the statement agree to the institution's general ledger.

   x    Compare and agree each expense category reported in the statement during the reporting
        period to supporting schedules provided by the institution. If a specific reporting
        category is less than 4.0% of the total expenses, no procedures are required for that
        specific category.

   x    Compare and agree a sample of expenses obtained from the above operating expense
        supporting schedules to adequate supporting documentation.

   x    Compare each major expense account over 10% of the total expenses to prior period
        amounts and budget estimates. Obtain and document an explanation of any variations
        greater than 10%. Report the analysis as a supplement to the final Agreed-Upon
        procedures report.
   20. Athletic Student Aid

        a. Using the criteria below select a sample of student-athletes receiving athletic aid during
           the reporting period. Data should be captured by the institution through the creation of
           a squad/eligibility list for each sport sponsored.

             •   If using the NCAA's Compliance Assistant (CA) application, select 10% of the
                 total student-athletes with a maximum sample size of 40.

             •   If using a compliance application other than the NCAA’s CA application, select
                 20% of total student-athletes with a maximum sample size of 60).

           Note: The Division I revenue distribution equivalencies (athletic grant amount divided
           by the full grant amount) should only include tuition, fees, living expenses and required
           course-related books, per Bylaw 20.02.10. Cost of Attendance or Other Expenses
           Related to Attendance are not countable for revenue distribution purposes.
           Note: The Calculation of Revenue Distribution Equivalencies Report (CRDE) within
           Compliance Assistant should provide equivalencies that do not contain Cost of
           Attendance or Other Expenses Related to Attendance.

        b. Obtain individual student-athlete account detail for each selection. Reconcile the total
           athletic aid reported by the institution to the student-athlete's account detail reported in
           CA or the institution report that reconciles to the NCAA Membership Financial
           Reporting System.

        c. Division I Institutions Only: Perform a check of each student selected to ensure their
           information was reported accurately in either the NCAA's CA software or entered


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    directly into the NCAA Membership Financial Reporting System using the following
    criteria:

    •   Grants-in-aid is calculated by using the revenue distribution equivalencies,
        athletic grant amount divided by the full grant amount.

    •   Other expenses related to attendance (also known as cost of attendance) should
        not be included in grants-in-aid revenue distribution equivalencies. Only tuition,
        fees, living expenses, and course-related books are countable for grants-in-aid
        revenue distribution per Bylaw 20.02.10.
        Note: For compliance purposes equivalencies may include other expenses related
        to attendance per Bylaw 15.02.2. However, other expenses related to attendance
        are not allowed to be included for revenue distribution equivalencies. If using the
        NCAA CA application, the Calculation of Revenue Distribution Equivalencies
        Report (CRDE) should provide equivalencies that do not include other expenses
        related to attendance.

    •   Full grant amount should be entered as a full year of tuition, not a semester or
        quarter.

    •   Student-athletes are to be counted once, regardless of multiple sport participation,
        and should not receive a revenue distribution equivalency greater than 1.00.

    •   Athletics grants are valid for revenue distribution purposes only in sports in which
        the NCAA conducts championships competition, emerging sports for women and
        football bowl subdivision football.

    •   Grants-in-aid are valid for revenue distribution purposes in NCAA sports that do
        not meet the minimum contests and participants’ requirements of Bylaw
        20.10.6.3.

    •   Institutions providing grants to student-athletes listed on the CRDE as “Exhausted
        Eligibility (fifth year)” or “Medical” receive credit in the grants-in-aid
        component.

    •   The athletics aid equivalency cannot exceed maximum equivalency limits.
        However, the total revenue distribution equivalency can exceed maximum
        equivalency limits due to exhausted eligibility and medical equivalencies, Bylaw
        15.5.3.1.
        Note: The NCAA Membership Financial Reporting System’s Revenue
        Distribution data entry webpage will automatically reduce the Total Revenue
        Distribution Equivalencies Awarded column to adhere to Bylaw 15.5.3.1.

    •   If a sport is discontinued and athletic aid is still being awarded/honored by the
        institution, the athletic aid is countable for revenue distribution purposes.
        Note: The discontinued sport will need to be added to the NCAA


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          Membership Financial Reporting System’s Revenue Distribution data entry
          Webpage.

      •   All equivalency calculations should be rounded to two decimal places.

      •   If a selected student received a Pell Grant, ensure the value of the grant is not
          included in the calculation of equivalencies or the total dollar amount of student
          athletic aid expense for the institution.

      •   If a selected student received a Pell Grant, ensure the student’s grant was included
          in the total number and total dollar value of Pell Grants reported for Revenue
          Distribution purposes in the NCAA Membership Financial Reporting System.

   d. Recalculate totals for each sport and overall.

21. Guarantees

    a. Obtain and inspect visiting institution's away-game settlement reports received by the
       institution during the reporting period and agree related expenses to the institution's
       general ledger and/or the statement and recalculate totals.

    b. Obtain and inspect contractual agreements pertaining to expenses recorded by the
       institution from guaranteed contests during the reporting period. Compare and agree
       related amounts expensed by the institution during the reporting period to the
       institution's general ledger and/or the statement and recalculate totals.

22. Coaching Salaries, Benefits, and Bonuses Paid by the University and Related
    Entities

    a. Obtain and inspect a listing of coaches employed by the institution and related entities
       during the reporting period. Select a sample of coaches' contracts that must include
       football, and men's and women's basketball from the listing.

    b. Compare and agree the financial terms and conditions of each selection to the related
       coaching salaries, benefits, and bonuses recorded by the institution and related entities
       in the statement during the reporting period.

    c. Obtain and inspect payroll summary registers for the reporting year for each selection.
       Compare and agree payroll summary registers from the reporting period to the related
       coaching salaries, benefits and bonuses paid by the institution and related entities
       expense recorded by the institution in the statement during the reporting period.

    d. Compare and agree the totals recorded to any employment contracts executed for the
       sample selected and recalculate totals.




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23. Coaching Salaries, Benefits, and Bonuses Paid by a Third-Party

    a. Obtain and inspect a listing of coaches employed by third parties during the reporting
       period. Select a sample of coaches' contracts that must include football, and men's
       and women's basketball from the listing.

    b. Compare and agree the financial terms and conditions of each selection to the related
       coaching other compensation and benefits paid by a third party and recorded by the
       institution in the statement during the reporting period.

    c. Obtain and inspect reporting period payroll summary registers for each selection.
       Compare and agree related payroll summary register to the coaching other
       compensation and benefits paid by a third-party recorded by the institution in the
       statement during the reporting period and recalculate totals.

24. Support Staff/Administrative Compensation, Benefits, and Bonuses Paid by the
    University and Related Entities

    a. Select a sample of support staff/administrative personnel employed by the institution
       and related entities during the reporting period.

    b. Obtain and inspect reporting period summary payroll register for each selection.
       Compare and agree related summary payroll register to the related support staff
       administrative salaries, benefits and bonuses paid by the institution and related entities
       expense recorded by the institution in the statement during the reporting period and
       recalculate totals.

25. Support Staff/Administrative Compensation, Benefits, and Bonuses Paid by a Third-
    Party

    c. Select a sample of support staff/administrative personnel employed by the third parties
       during the reporting period.

    d. Obtain and inspect reporting period payroll summary registers for each selection.
       Compare and agree related payroll summary registers to the related support staff
       administrative other compensation and benefits expense recorded by the institution in
       the statement during the reporting period and recalculate totals.

26. Severance Payments

    a. Select a sample of employees receiving severance payments by the institution during
       the reporting period and agree each severance payment to the related termination letter
       or employment contract and recalculate totals.




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27. Recruiting

    a. Obtain documentation of the Institution's recruiting expense policies.

    b. Compare and agree to existing institutional- and NCAA-related policies.

    c. Obtain general ledger detail and compare to the total expenses reported and recalculate
       totals.

28. Team Travel

    a. Obtain documentation of the Institution's team travel policies.

    b. Compare and agree to existing institutional- and NCAA-related policies.

    c. Obtain general ledger detail and compare to the total expenses reported and recalculate
       totals.

29. Sports Equipment, Uniforms, and Supplies

    a. Obtain general ledger detail and compare to the total expenses reported. Select a
       sample of transactions to validate existence of transaction and accuracy of recording
       and recalculate totals.

30. Game Expenses

    a. Obtain general ledger detail and compare to the total expenses reported. Select a
       sample of transactions to validate existence of transaction and accuracy of recording
       and recalculate totals.

31. Fund Raising, Marketing and Promotion

    a. Obtain general ledger detail and compare to the total expenses reported. Select a
       sample of transactions to validate existence of transaction and accuracy of recording
       and recalculate totals.

32. Sports Camp Expenses

    a. Obtain general ledger detail and compare to the total expenses reported. Select a
       sample of transactions to validate existence of transaction and accuracy of recording
       and recalculate totals.

33. Spirit Groups

    a. Obtain general ledger detail and compare to the total expenses reported. Select a
       sample of transactions to validate existence of transaction and accuracy of recording


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        and recalculate totals.

34. Athletic Facilities Debt Service, Leases and Rental Fees

    a. Obtain a listing of debt service schedules, lease payments and rental fees for athletics
       facilities for the reporting year. Compare a sample of facility payments including the
       top two highest facility payments to additional supporting documentation (e.g., debt
       financing agreements, leases, rental agreements).

    b. Compare amounts recorded to amounts listed in the general ledger detail and
       recalculate totals.

35. Direct Overhead and Administrative Expenses

    a. Obtain general ledger detail and compare to the total expenses reported. Select a
       sample of transactions to validate existence of transaction and accuracy of recording
       and recalculate totals.

36. Indirect Institutional Support

   a. Tested with revenue section- Indirect Institutional Support.

37. Medical Expenses and Insurance

   a. Obtain general ledger detail and compare to the total expenses reported. Select a
      sample of transactions to validate existence of transaction and accuracy of recording
      and recalculate totals.

38. Memberships and Dues

   a. Obtain general ledger detail and compare to the total expenses reported. Select a
      sample of transactions to validate existence of transaction and accuracy of recording
      and recalculate totals.

39. Student-Athlete Meals (non-travel)

   a. Obtain general ledger detail and compare to the total expenses reported. Select a
      sample of transactions to validate existence of transaction and accuracy of recording
      and recalculate totals.

40. Other Operating Expenses

   a. Obtain general ledger detail and compare to the total expenses reported. Select a
      sample of transactions to validate existence of transaction and accuracy of recording
      and recalculate totals.



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   41. Football Bowl Expenses (41 and 41A)

       a. Obtain general ledger detail and compare to the total expenses reported. Select a
          sample of transactions to validate existence of transaction and accuracy of recording
          and recalculate totals.

ADDITIONAL MINIMUM AGREED-UPON PROCEDURES

In order for the NCAA to place reliance on the Division I financial reporting to calculate the
Division I NCAA revenue distributions, which is a financial benefit to the institution, the following
procedure are required:

   1. Grants-in-Aid:
         a. Compare and agree the sports sponsored reported in the NCAA Membership
            Financial Reporting System to the Calculation of Revenue Distribution
            Equivalencies Report (CRDE) from Compliance Assistant (CA) or other report that
            supports the equivalency calculations from the institution.          The NCAA
            Membership Financial Reporting System populates the sports from the NCAA
            Sports Sponsorship and Demographics Form as they are reported by the institution
            between April and June. If there is a discrepancy in the sports sponsored between
            the NCAA Membership Financial Reporting System and the CRDE or other report
            that supports the equivalency calculations, inquire about the discrepancy, and
            report the justification in the AUP report.

           b. Compare current year Grants-in-Aid revenue distribution equivalencies to prior
              year reported equivalencies per the Membership Financial Report submission.
              Inquire and document an explanation for any variance great than +/- 4%. The
              submitted data is reviewed by NCAA staff. Providing a detailed variance
              explanation will assist with the review process.

   2. Sports Sponsorship:
         a. Obtain the institution’s Sports Sponsorship and Demographics Form submitted to
             NCAA Research for the reporting year. Validate that the countable NCAA sports
             reported by the institution met the minimum requirements, set forth in Bylaw
             20.10.6.3, related to the number of contests and the number of participants. If the
             institution requested and/or received a waiver related to minimum contests or
             minimum participants for a sport, that sport would not qualify as a sponsored sport
             for the purposes of revenue distribution. Also, only sports in which the NCAA
             conducts championships competition, emerging sports for women and bowl
             subdivision football are eligible. Once the countable sports have been validated,
             ensure that the institution has properly reported these sports as countable for
             revenue distribution purposes within the NCAA Membership Financial Reporting
             System. Any discrepancies MUST be resolved within the NCAA Membership
             Financial Reporting System prior to the report being submitted to the NCAA.

           b. Compare current year number of Sports Sponsored to prior year reported total per


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              the Membership Financial Report submission. Inquire and document an
              explanation for any variance. The submitted data is reviewed by NCAA staff.
              Providing a detailed variance explanation will assist with the review process.

   3. Pell Grants:
           a. Agree the total number of Division I student-athletes who, during the academic
              year, received a Pell Grant award (e.g. Pell Grant recipients on Full Athletic Aid,
              Pell Grant recipients on Partial Athletic Aid and Pell Grant recipients with no
              Athletic Aid) and the total dollar amount of these Pell Grants reported in the
              NCAA Membership Financial Reporting System to a report generated out of the
              institutions financial aid records of all student-athlete Pell Grants.
                 • Note 1: Only Pell Grants for sports in which the NCAA conducts
                     championships competition, emerging sports for women and bowl
                     subdivision football are countable.
                 • Note 2: Student-athletes should only be counted once even if the athlete
                     participates in multiple sports.
                 • Note 3: Individual student-aid file testing in step 31 above should tie any
                     selected student athletes who received Pell Grants back to the report of all
                     student athlete Pell Grants to test the completeness and accuracy of the
                     report.
           b. Compare current year Pell Grants total to prior year reported total per the
              Membership Financial Report submission. Inquire and document an explanation
              for any variance greater than +/- 20 grants. The submitted data is reviewed by
              NCAA staff. Providing a detailed variance explanation will assist with the review
              process.


MINIMUM    AGREED-UPON                PROCEDURES            PROGRAM           FOR      OTHER
REPORTING ITEMS

Following is a complete listing of the minimum agreed-upon procedures for other reporting items,
by category, to be performed to the statement by the independent accountant. Before the
commencement of fieldwork, the independent accountant should ensure that the amounts reported
on the statement agree to the institution's general ledger.

   50. Excess Transfers to Institution

        a. Obtain general ledger detail and compare to the total expenses reported. Select a
           sample of transactions to validate existence of transaction and accuracy of recording
           and recalculate totals.

   51. Conference Realignment Expenses

        a. Obtain general ledger detail and compare to the total expenses reported. Select a
           sample of transactions to validate existence of transaction and accuracy of recording
           and recalculate totals.


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52. Total Athletics Related Debt

    a. Obtain repayment schedules for all outstanding intercollegiate athletics debt during
       the reporting period. Recalculate annual maturities (consisting of principal and
       interest) provided in the schedules obtained.

    b. Agree the total annual maturities and total outstanding athletic related debt to
       supporting documentation and the institution’s general ledger, as applicable.
53. Total Institutional Debt

    a. Agree the total outstanding institutional debt to supporting documentation and the
       institution’s audited financial statements, if available, or the institution’s general
       ledger.

54. Value of Athletics Dedicated Endowments

    a. Obtain a schedule of all athletics dedicated endowments maintained by athletics, the
       institution, and affiliated organizations. Agree the fair market value in the schedule(s)
       to supporting documentation, the general ledger(s) and audited financial statements,
       if available.

55. Value of Institutional Endowments

    a. Agree the total fair market value of institutional endowments to supporting
       documentation, the institution’s general ledger and/or audited financial statements, if
       available.

56. Total Athletics Related Capital Expenditures

    a. Obtain a schedule of athletics related capital expenditures made by athletics, the
       institution, and affiliated organizations during the reporting period, additions only.

    b. Obtain general ledger detail and compare to the total expenses reported. Select a
       sample of transactions to validate existence of transaction and accuracy of recording
       and recalculate totals.




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APPENDIX E | Independent Accountant’s Report on Agreed-Upon
Procedures
The independent accountant’s report on agreed-upon procedures should be in the form of
procedures and findings. The report should contain the following elements:

1.     A title that includes the word “independent”;

2.     Identification of the specified parties;

3.     Identification of the subject matter (or the written assertion related thereto), including the
       period and point in time addressed and a reference to the character of the engagement;

4.     Identification of the responsible party;

5.     A statement that the subject matter is the responsibility of the responsible party;

6.     A statement that the procedures performed was those agreed to by the specified parties
       identified in the report;

7.     For compliance-attestation engagements, a statement that the procedures, which were
       agreed to by the specified parties identified in the report, were performed to assist the
       specified parties in evaluating the entity’s compliance with specified requirements or the
       effectiveness of its internal control over compliance;

8.     A statement that the agreed-upon procedures engagement was conducted in accordance
       with attestation standards established by the American Institute of Certified Public
       Accountants;

9.     A statement that the sufficiency of the procedures is solely the responsibility of the
       specified parties and a disclaimer of responsibility for the sufficiency of those procedures;

10.    A list of the procedures performed (or reference thereto) and related findings;

11.    Where applicable, a description of any agreed-upon materiality limits;

12.    A statement that the practitioner was not engaged to and did not conduct an examination
       of the subject matter, the objective of which would be the expression of an opinion, a
       disclaimer of opinion on the subject matter, and a statement that if the practitioner had
       performed additional procedures, other matters might have come to the practitioner’s
       attention that would have been reported;

13.    A statement of restrictions on the use of the report because it is intended to be used solely
       by the specified parties;

14.    Where applicable, reservations or restrictions concerning procedures or findings;


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15.    Where applicable, a description of the nature of the assistance provided by a specialist;

16.    The manual or printed signature of the practitioner’s firm and

17.    The date of the report.




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APPENDIX F | Common Questions and Answers
Q:    Can an internal auditor of one member institution conduct the required independent audit
      for another member institution in the same state system?

A:    Yes, provided the individual is an independent certified auditor and is not a staff member
      of that institution.


Q:    Can a member institution seek an extension of the deadline for completion of the annual
      agreed-upon procedures?

A:    No. NCAA legislation does not contain a provision under which the deadline may
      be extended or waived.


Q:    Are agreed-upon procedures performed by the internal audit division of a state system
      of higher education considered independent?

A:    Yes, since individuals who perform the work are employees of the state system reporting
      to the system’s director of internal audits, provided the internal audit division performs the
      minimum agreed-upon procedures in a manner consistent with NCAA agreed-upon
      procedures for each institution.


Q:    How does a Division II institution satisfy the agreed-upon procedures requirement if the
      institution sponsors a sport(s) at the Division I level?

A:    The NCAA Interpretations Committee determined during its June 30, 1993, conference
      call that a Division II member institution that sponsors a Division I sport(s) shall not be
      subject to agreed-upon procedures (Based on Division II legislative action August 2004)
      for the Division I sport(s). This interpretation supersedes the previous legislative staff
      interpretation of January 15, 1992.


Q:    Does an independent group or organization that does not constitute a booster organization
      by name only (e.g., alumni association, foundation) need to have its athletically related
      financial activities included in the institution’s financial audit (i.e., tested by the auditor
      and reported to the institutional auditor)?

A:    Any agency or group of individuals (two or more) that has as its principal purpose the
      generation of moneys, goods, or services for or on behalf of an intercollegiate athletics
      program should be included in the annual agreed-upon procedures.




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Q:    Once affiliated and outside organizations (e.g., independent groups, affiliated
      foundations), such as those that do not fall under the purview of direct institutional
      oversight, are identified, how is their financial data to be included in the agreed-upon
      procedures?

A:    Either the organization’s statements of revenues and expenses should be procured or,
      if audited independently of the institution, agreed-upon procedures and any reports to
      management related to the internal control structure need to be obtained and reviewed.
      Also, a schedule of expenses by the affiliated and/or outside organization for or on behalf
      of the institution’s athletics program should be obtained and reconciled with the revenues
      recorded in the athletics program’s accounting records.


Q:    What are the criteria used in compiling the total dollars generated for or on behalf of an
      athletics program?

A:    An institution must disclose in a footnote to the statement of athletics department revenues
      and expenses contributions from any outside source (not included as an agency,
      organization or group as indicated in the NCAA agreed-upon procedures in the section
      entitled “organization of intercollegiate athletics programs”) that constitutes more than 10
      percent of all contributions received (e.g., contributions by corporate sponsors). The
      source from which such funds are received also shall be disclosed in a footnote to the
      statement of revenues and expenses.


Q:    For an institution with a fiscal year-end which would preclude a timely report, how can an
      exception be granted to report on the most recent fiscal year that is completed?

A:    The institution should contact the NCAA Administrative Services group for guidance.


For a complete list of Common Questions and Answers, please reference the FAQ document
located on the NCAA Membership Financial Reporting System webpage within ncaa.org.




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APPENDIX G | NCAA Online Financial Reporting Links
Helpful links and resources located on the Membership Financial Reporting System website:
   x Logon to the NCAA Financial Reporting System (FRS).
   x FY2024 Agreed-Upon Procedures.
   x FRS Help Video.
   x NCAA AUP and FRS FAQs.
   x FY2024 FRS Supplemental Tool.
   x List of key dates for FY2024 reporting.
   x List of key resources and contacts.
   x Single Source Sign-On (NCAA My Apps) Quick Start Guide and Users Guide.

If you need assistance in accessing the NCAA Membership Financial Reporting System,
please contact your on-campus Single Source Sign-on (NCAA My Apps) administrator.




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UHVSHFWLYHFRQIHUHQFHVDUHUHTXLUHGWRRIIHUWKHQXPEHURIVSRUWVVSRQVRUHGE\WKHFRQIHUHQFH

DQGRUWKHURVWHUOLPLWVZLWKLQWKHLUFRQIHUHQFHVXEMHFWWRWKHOLPLWDWLRQVWKDWUHGXFWLRQVLQURVWHU

OLPLWVZLOOQRWUHVXOWLQWKHORVVRIDWKOHWLFVFKRODUVKLSVIRUWKHQFXUUHQWVWXGHQWDWKOHWHVDQGWKDW




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DQ\FKDQJHLQURVWHUOLPLWVVKDOOQRWUHVXOWLQDUHGXFWLRQLQWKHQXPEHURIDWKOHWLFVFKRODUVKLSV

SHUPLVVLEOHXQGHUWKHFXUUHQW1&$$'LYLVLRQ,UXOHVLQDQ\VSRUW

       6HFWLRQ(IIHFWRQ1RQ1&$$VSRQVRUHG6SRUWV1RWKLQJLQWKLV$SSHQGL[%VKRXOG

EHUHDGWROLPLWLQDQ\ZD\WKHULJKWRILQGLYLGXDO0HPEHU,QVWLWXWLRQV VXEMHFWWRFRQIHUHQFH

UXOHV RULQGLYLGXDOFRQIHUHQFHVIURPXQLODWHUDOO\LQFUHDVLQJRUGHFUHDVLQJWKHURVWHUVL]HVRIVSRUWV

QRWLGHQWLILHGLQ6HFWLRQRUDGGHGGXULQJWKH7HUPLQDFFRUGDQFHZLWK6HFWLRQ




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       6HFWLRQ'HILQHG7HUPV$OOFDSLWDOL]HGWHUPVLQWKLV$SSHQGL[%VKDOOKDYHWKHVDPH

GHILQLWLRQ DV VHW IRUWK LQ WKH 6WLSXODWLRQ DQG 6HWWOHPHQW $JUHHPHQW DQGRU ,QMXQFWLYH 5HOLHI

6HWWOHPHQWDVDSSURSULDWHLIQRWRWKHUZLVHGHILQHGKHUHLQ

        6HFWLRQ  &RQIOLFWV  7KH SURYLVLRQV RI WKLV $SSHQGL[ VXSHUVHGH DQ\ FRQIOLFWLQJ

SURYLVLRQVLQDQ\UXOHRUSROLF\RUDQ\RWKHUGRFXPHQWDGRSWHGE\'HIHQGDQWVRUDQ\RIWKHLU

0HPEHU,QVWLWXWLRQVDIIHFWLQJWKHPDWWHUVDGGUHVVHGKHUHLQ$Q\FRQIOLFWEHWZHHQWKLV$SSHQGL[

%DQGWKH66$DQGRUWKH,QMXQFWLYH5HOLHI6HWWOHPHQW ³,56´ VKDOOEHUHVROYHGLQIDYRURIWKH

66$DQGRU,56DVDSSOLFDEOH
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